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                                                                                            Exhibit 1
                       IN T H E UNITED STATES BANKRUPTCY COURT
                         FOR T H E SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION
    INRE:
                                                       §
    MIDTOWN SCOUTS SQUARE                              §          C A S E N O . 13-32920
    PROPERTY, LP                                                  (Chapter 11)

    MIDTOWN SCOUTS SQUARE, L L C                      §

                                                      §
                    DEBTORS.                                         Jointly Administered
                                                                         Judge Brown




MIDTOWN SCOUTS SOUARE PROPERTY, LP, AND MIDTOWN SCOUTS SOUARE,
        L L C ' S JOINT CHAPTER 11 PLAN OF REORGANIZATION




                                                   HOOVER SLOVACEK LLP
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                                                   A T T O R N E Y S FOR DEBTORS




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               IN T H E UNITED STATES BANKRUPTCY COURT
                 FOR T H E SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION
    INRE:                           §
                                    §
    MIDTOWN SCOUTS SQUARE           §      C A S E N O . 13-32920
    PROPERTY, LP                    §      (Chapter 11)
                                    §
    MIDTOWN SCOUTS SQUARE, L L C    §


                   DEBTORS.                                           Jointly Administered
                                                                          Judge Brown




                     CHAPTER 11 JOINT PLAN OF REORGANIZATION


        The Debtors Midtown Scouts Square Property, L P , and Midtown Scouts Square, L L C

(the "Debtors" or "Plan Proponents"), submit this Chapter 11 Joint Plan of Reorganization (the

"Plan") for the treatment of all outstanding creditor claims and equity interests pursuant to

Chapter 11 of the Bankruptcy Code. A l l holders of claims against and equity interests in the

Debtors are encouraged to read the Plan and accompanying Disclosure Statement in their entirety

before voting on the Plan.


                                               ARTICLE 1

                 INTRODUCTION A N D G E N E R A L PURPOSES OF THE P L A N

        Midtown Scouts Square Property ("MSSP") is a limited partnership that owns the

mixed use Office Building located 1911 Bagby Street, Houston, Texas 77002 (the "Office

Building") and the eight story Parking Garage located at 1910 Bagby Street (the "Parking

Garage"). Midtown Scouts Square, L L C , is the general partner of M S S P . The properties are

located at the east corner of Bagby and Pierce Avenue in Houston. This location is an area ofthe

city known as Midtown.
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        The Plan provides for the restructuring of the existing debts such that payment to

Creditors will be made by the Reorganized Debtors over time from cash on hand operational

cash flow as follows: (1) Allowed Administrative Claims and Priority Non-Tax Claims will be

paid in cash in full; (2) Allowed A d Valorem Claims of Taxing Authorities will be paid in full in

cash full without penalty, with interest at the statutoiy rate of 12% per annum within 30 days of

the Effective Date; (3) Allowed Non-Tax Priority Claims, i f any, will be paid in cash in full

within 30 days of the Effective Date; (4) Allowed Priority Tax Claims, ifany, will be paid in full

within 30 days of the Effective Date with interest at the statutory rate from the Effective Date;

(5) Allowed Secured Claim of Bank of Houston secured by liens on the Office Building will be

paid by pursuant to the terms of the pre-petition promissory note, with the unpaid pre-petition

amount due added on to the end of the respective note; (6) Allowed Secured Claim of Bank of

Houston secured by liens on the Parking Garage will be paid by pursuant to the terms of the pre-

petition promissory note, with the exception that the term of the note will be extended by 60

months with the unpaid pre-petition amount due added on to the end of the respective note; (7)

Allowed Secured Claim of the Debtors' second lien lender (Mercantile Capital Corporation) will

be converted to the permanent SBA Debenture (504 loan) and will be paid pursuant to terms of

the pre-approved SBA note; (7) Allowed Non-Insider Unsecured Claims will be paid in full with

interest at 5% over 60 months beginning on the Effective Date with quarterly distributions

thereafter; (7) the Allowed Claims of Insiders, including any Allowed Claim of Richey Family

Limited Partnership, Todd Richey and L.E. Richey, will be paid in full with interest at 5% over

60 months, or in the event the Court detennines that the Richey's hold an equity interest in the

Debtors, such claim shall be converted to equity as more ftilly described herein; (8) in exchange

for converting the post-petition financing claim entitled to priority under §503(b)(l), his pre-



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petition claim of $260,624.38, and the Equity Infusion, Atul Lucky Chopra shall retain his 100%

equity interest in the Reorganized Debtors, or a reduced equity percentage i f the Court

determines that the Richeys hold an equity interest in the Debtors.                        The means for the

implementation of the Plan are set forth below.

                                                ARTICLE 2
                                               DEFINITIONS

        2.1    For purposes of the Plan the following ternis shall have the respective meanings
specified as follows:

                 2.1.1        Administrative Claim shall mean any Claim that is defined in Section
                              503(b) of the Bankruptcy Code as being an "administrative expense"
                              within the meaning of such section and referenced in Bankruptcy Code
                              Section 507(a)(1) including, without hmitation, the actual, necessary
                              costs and expenses of preserving the Debtor's estate and operating the
                              business of the Debtor, including wages, salaries, or commissions for
                              services rendered after the commencement of the case, compensation
                              for legal and other services and reimbursement of expenses Allowed or
                              awarded under Bankruptcy Code Sections 330(a) or 331, and all fees
                              and charges assessed against the estate of the Debtor under title 28 of
                              the United States Code.

                 2.1.2        Allowed Claim or Allowed Interest shall mean a Claim or Interest (a)
                              in respect of which a proof of claim or application has been filed with
                              the Banki-uptcy Court within the applicable period of limitation fixed
                              by Bankruptcy Rule 3001 or (b) scheduled in the list of Creditors
                              prepared and filed with the Bankruptcy Court pursuant to Bankruptcy
                              Rule 1007(b) and not listed as Disputed Claims or contingent or
                              liquidated as to amount, in either case as to which no objection to the
                              allowance thereof has been interposed within any applicable period of
                              limitation fixed by Bankruptcy Rule 3001 or an order of the
                              Bankruptcy Court, or this Plan, or as to which any such objection has
                              been determined by an order or judgment which is no longer subject to
                              appeal or certiorari proceeding and as to which no appeal or certiorari
                              proceeding is pending or as otherwise allowed under this Plan. A n
                              Allowed Claim may refer to a Secured Claim, a General Unsecured
                              Claim, an Administrative Claim or a Priority Claim as the context
                              provides.

                 2.1.3        Avoidance Actions shall mean those causes of action provided for
                              under Sections 547 to 551 of the Bankruptcy Code, causes of action
                              under applicable non-bankruptcy law for fraudulent transfer or similar
                              legal theories.

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                 2.1.4       Banki-uptcv Code shall mean the Bankruptcy Code, 11 U.S.C. §101 et
                             seq., as it existed on the Filing Date.

                 2.1.5       Bankruptcv Court shall mean the United States Banki-uptcy Court for
                             the Southern District of Texas, Houston Division, in which the
                             Debtor's Chapter 11 case, pursuant to which the Plan is proposed, is
                             pending, and any Court having competent jurisdiction to hear appeals
                             or certiorari proceedings therefrom.

                 2.1.6       Bankruptcv Estate shall mean all of the assets owned by the Debtor
                             and its estate.

                 2.1.7       Bankruptcv Rules shall mean the rules of procedure in bankruptcy
                             cases applicable to cases pending before the Bankruptcy Court and
                             local bankruptcy rules as adopted by the Bankruptcy Court.

                 2.1.8       Bar Date shall mean September 9, 2013, established by the Bankruptcy
                             Court as the dates by which proofs of claim have to be filed.

                 2.1.9       Cash shall mean Cash and Cash equivalents including, without
                             limitation, checks and wire transfers.

                 2.1.10      C D C shall mean the Community Certified Development Corporation,
                             located at 8590 Highway 6 North, Houston, Texas 77095.

                 2.1.11      Claim shall have the meaning given in Section 101 of the Bankruptcy
                              Code, to wit, any right to payment, or right to an equitable remedy for
                             breach of performance i f such breach gives rise to a right to payment,
                             against the Debtor in existence on or before the Filing Date, whether
                             or not such right to payment or right to equitable remedy is reduced to
                             judgment, liquidated, unliquidated, fixed, contingent, matured,
                             unmatured, Disputed, undisputed, legal, secured or unsecured whether
                             or not asserted.

                 2.1.12      Class shall mean any class into which Allowed Claims or Allowed
                             Interests are classified pursuant to Article 4.

                 2.1.13      Class 1 Claims, Class 2 Claims. Class 3 Claims. Class 4 Claims. Class
                             5 Claims. Class 6 Claims and Class 7 Claims shall mean the Claims so
                             classified in Section 4.

                2.1.14       Class 8 Interests shall mean the Allowed Interests so classified in
                             Section 4.

                2.1.15       Confinnation Date shall mean the date upon which the Confirmation
                             Order is entered by the Clerk of the Bankruptcy Court.



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                 2.1.16       Confirmation Hearing shall mean the hearing held by the Bankruptcy
                              Court to consider confirmation of the Plan.

                 2.1.17       Confirmation Order shall mean the order entered by the Bankruptcy
                              Court confirming this Plan in accordance with the provisions of
                              Chapter 11 of the Bankruptcy Code.

                 2.1.18       Creditor shall mean any entity holding a Claim.

                 2.1.19       Debtors shall mean Midtown Scouts Square Property, LP, and
                              Midtown Scouts Squai'e, L L C , collectively.

                 2.1.20       DIP Facilitv shall mean that certain post-petition loan and Promissory
                              Note with Lucky Chopra in the amount up to $1,000,000 approved by
                              the Court on a final basis on May 29, 2014.

                 2.1.21       Disbursing Agent shall mean the Reorganized Deblor.

                 2.1.22       Disclosure Statement shall mean the written document filed by the
                              Debtor in accordance with Section 1125(b) of the Bankruptcy Code
                              containing information sufficient to enable a hypothetical reasonable
                              investor typical of Holders of Claims or Interests of the relevant Class
                              to make an infomied judgment about this Plan.

                 2.1.23       Disallowed Claim shall mean any Claim or portion thereof which has
                              been disallowed by a Final Order and includes any Claim which is not
                              an Allowed Claim for any other reason.

                 2.1.24       Disputed Claim shall mean that portion (including, where appropriate,
                              the whole) of any Claim (other than an Allowed Claim) that (a) is
                              listed in the Debtors' schedules ofliabilities as disputed, contingent, or
                              unliquidated; (b) is listed in the Debtors' schedules of liabilities and as
                              to which a proof of Claim has been filed with the Bankruptcy Court, to
                              the extent the proof of Claim exceeds the scheduled amount; (c) is not
                              listed in the Debtors' schedules ofliabilities, but as to which a proof of
                              Claim has been filed with the Bankruptcy Court; or (d) as to which an
                              objection has been filed and has not become an Allowed Claim.

                 2.1.25       Effective Date shall mean the first business day 30 days after the
                              Confirmation Order is entered by the Court.

                 2.1.26       Equitv Infusion shall mean the sum of the funds contributed by Lucky
                              Chopra in Article 6.4 and to be used for the purposes defined herein.

                 2.1.27       Equitv Interest shall mean the interests represented by an "equity
                              security" as defined in Section 101 of the Bankruptcy Code.



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                 2.1.28       Executorv Contractfs) shall mean any Pre-petition Unexpired lease(s)
                              or executory contract(s) of the Debtors within the meaning of Section
                              365 of the Bankruptcy Code.

                 2.1.29       Filing Date shall mean May 9, 2013, the date the Debtors filed their
                              voluntary petitions under Chapter 11 of the Bankruptcy Code.

                 2.1.30       Final Order shall mean an order or judgment of a Court which has
                              become final in accordance with law, and which has not been stayed
                              pending appeal.

                 2.1.31       General Unsecured Claim shall mean either (i) a Claim that is not
                              secured by a lien, security interest or other charge against or interest in
                              property in which Debtor has an interest or which is not subject to
                              setoff under Section 553 of the Bankruptcy Code; (ii) a Claim that is
                              not a Secured Claim; (iii) a Claim that is not an Administrative Claim;
                              (iv) a Claim that is not a Priority Claim; or (v) a Claim that is not
                              otherwise entitled to priority under Bankruptcy Code Sections 503 or
                              507.

                 2.1.32       Guarantors with respect to the debt owed to Bank of Houston and
                              Mercantile Capital Corporation shall mean the Guarantees executed by
                              Atul Lucky Chopra, Advanced Diagnostics Management, LLP, Chopra
                              Imaging Centers, Inc., L . Chopra M.D., P.A., Sosa, Inc., and X-Ray X -
                              Press Coiporation.

                 2.1.33       Holder shall mean the owner or Holder of any Claim or Interest.

                 2.1.34       Interest shall mean an Interest (a) in respect to which a proof of
                              interest has been filed with the Bankruptcy Court within the applicable
                              period of limitation fixed by Bankruptcy Rule 3001 or (b) scheduled in
                              the list of Equity Security Holders prepared and filed with the
                              Bankruptcy Court pursuant to Bankruptcy Rule 1007(b).

                 2.1.35       Insider has the definition ascribed to it under the Bankruptcy Code.

                 2.1.36       Lien shall mean a "lien" as defined in Section 101(37) of the
                              Bankruptcy Code.

                 2.1.37       Non-Tax Prioritv Claims shall mean any Claim that is defmed in
                              Section 507(a)(2)-(7) ofthe Bankruptcy Code.

                 2.1.38       Person shall mean an individual, corporation, partnership, joint
                              venture, trust, estate, unincorporated organization, or a govemment or
                              any agency or political subdivision thereof




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                 2.1.39      Plan shall mean this Chapter 11 Plan, as altered, modified or amended
                             in accordance with the terms hereof in accordance with the Bankruptcy
                             Code, the Bankruptcy Rules and this Plan.

                 2.1.40      Prioritv Tax Claims shall mean any Claim that is defined in Section
                             507(a)(8) ofthe Bankruptcy Code.

                 2.1.41      Professionals shall mean all professionals employed in this case
                             pursuant to Section 327 or 1103 of the Bankruptcy Code.

                 2.1.42      Pro-Rata shall mean the proportion that the Allowed amount of such
                             Claim bears to the aggregate amount of Claims in each respective
                             Class.

                 2.1.43      Reorganized Debtor shall mean Midtown Scouts Square Property, L P ,
                             and Midtown Scouts Property, L L C , immediately after the Effective
                             Date.

                 2.1.44      Richey Parties shall mean Richey Family Limited Partnership, LTD.,
                             L.E. Richey, and Todd Richey.

                 2.1.45      S B A shall mean the U.S. Small Business Administration.

                 2.1.46      Secured Claim shall mean a Claim secured by a lien, security interest
                             or other charge against or interest in property in which the Debtors
                             have an interest, or which is subject to setoff under Section 553 of the
                             Bankruptcy Code, to the extent of the value (determined in accordance
                             with Section 506(a) of the Bankruptcy Code) of the interest of the
                             Holder of such Claim in the Debtors interest in such property or to the
                             extent of the amount subject to such setoff, as the case may be.

                 2.1.47      Small Claim shall mean an Allowed Claim, (a) the amount of which
                             (prior to any subdivision or assignment thereof after the Petition Date)
                             is not more than $5,000.00, or (b) the Holder of which irrevocably
                             elected prior to the Confmnation Date to reduce the amount thereof to
                             $5,000.00 and to have such Allowed Claim included in Class 5 by
                             indicating such election on the form utilized for purposes of
                             acceptance or rejection of the Plan.

                 2.1.48      Substantial Consummation shall occur on the Effective Date.

        2.2     Interpretation.    Unless otherwise specified, all section, article and exhibit
references in the Plan are to the respective sections, articles of or exhibits to the Plan, as the same
may be amended, waived or modified from time to time. The headings and table of contents in
the Plan are for convenience of reference only and shall not limit or otherwise affect the
provisions of the Plan. Words denoting the singular number shall include the plural number and
vice versa and words denoting one gender shall include the other gender. A l l exhibits and
schedules attached to the Plan are incorporated herein by such attachment.

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        2.3    Application of Defmitions and Rules of Construction Contained in the
Bankruptcv Code. Words and terms defmed in Section 101 of the Bankruptcy Code shall have
the saine meaning when used in the Plan, unless a different definition is given in the Plan. The
rules of construction contained in Section 102 of the Bankruptcy Code shall apply to the
construction ofthe Plan.

                                       ARTICLE 3
                           ADMINISTRATIVE A N D PRIORITY C L A I M S

       In accordance with Section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
and Priority Claims have not been classified and are treated and described in this section.

        3.1    Administrative Claims Bar Date. Any Holder of an Administrative Claim
(including any cure Claims for executory contracts or leases that are assumed pursuant to this
Plan, including Lease Claims) against the Debtors, except for administrative expenses incurred in
the ordinary course of operating the Debtors' business, shall file an application for payment of
such Administrative Claim on or within sixty(60) days after entry of the Confirmation Order
with actual service upon counsel for the Debtors, otherwise such Holder's Administrative Claim
will be forever barred and extinguished and such Holder shall, with respect to any such
Administrative Claim, be entitled to no distribution and no further notices. The Debtors shall
pay pre-confirmation quarterly U.S. Trustee fees in full in Cash within thirty (30) days after the
Effective Date. U.S. Trustee fees which accrue after confirmation shall be paid by the
Reorganized Debtor.

        3.2     Pavment of Administrative Claims. Each Holder of an unpaid Allowed
Administrative Claim shall be paid in Cash in full on the later of thirty (30) days after the
Effective Date or the date such Claim becomes an Allowed Administrative Claim, unless the
ITolder of such Claim agrees to a different treatment.

       3.3     Pavment of Non-Tax Prioritv Claims. Each Holder of an unpaid Allowed Non-
Tax Priority Claim shall be paid in Cash in full on the later of thirty (30) days after the Effective
Date or the date such Claim becomes an Allowed Non-Tax Priority Claim, unless the Holder of
such Claim agrees to a different treatment. No Non-Tax Priority Claims are expected.

                                      ARTICLE 4
            CLASSIFICATION A N D T R E A T M E N T OF C L A I M S A N D INTERESTS

         Subject to all other applicable provisions of the Plan (including its distribution
provisions), classified Claims and Interests shall receive the treatment set forth below. The Plan
will not provide any distributions on account of a Claim or Interest to the extent that such Claim
or Interest has been disallowed, released, withdrawn, waived, settied, or otherwise satisfied or
paid as of the Effective Date, including, without limitation, payments by third party guarantors,
sureties, or insurers, whether governmental or nongovernmental. The Plan will not provide any
distributions on account of a Claim or Interest, the payment of which has been assumed by a
third party.




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        4.1      Class 1. Allowed Secured Claini of Taxing Authorities.

                   4.1.1 Classification. Class 1 consists of the Allowed Secured Claims of A d
                 Valorem taxing authorities for the year 2012 and 2013 any prior years secured by
                 a lien on all of the Debtors' assets.

                   4.1.2 Treatment. Allowed Secured Class 1 Claims shall be paid in cash in full
                 with interest at the statutory rate within 30 days of the Effective Date, without
                 penalty. The Allowed Secured Class 1 Claims Holders shall retain their liens
                 until such time as they are paid in full. The Property Taxing authorities shall
                 retain all liens they currently holds for the 2012 and 2013 tax year on any
                 property of the Debtors until they receive payment in full of all taxes. A d
                 valorem taxes for the 2014 tax year are to be timely paid in the ordinary course
                 without the necessity of the filing of administrative expense claims or requests for
                 payment, and i f not so timely paid, will be subject to state court collection
                 procedures without the necessity of further recourse to the Bankruptcy Court.

                   4.1.3     The Class 1 Claims are not impaired.

        4.2       Class 2 Allowed Secured Claim of Bank of Houston on Office Building.

                  4.2.1 Classification: Class 2 consists of the Allowed Secured Claim of Bank of
                 Houston, secured by liens on the Office Building.

                   4.2.2 Treatment. The Secured Class 2 Claim of Bank of Houston shall be
                 Allowed and paid by the Reorganized Debtor pursuant to the terms of the pre-
                 petition loan documents. The pre-petition arrearage of $29,599.51 will be added
                 to the principal amount owed on the note and will be paid upon maturity of the
                 pre-petition note. Bank of Houston shall retain its liens pursuant to the terms of
                 the pre-petition loan documents. The monthly payment on the Class 3 Claim will
                 be $29,599.51.

                   4.2.3     The Class 2 Claim is impaired.

        4.3       Class 3.   Allowed Secured Claim of Bank of Houston on Parking Garage.

                  4.3.1 Classification: Class 3 consists of the Allowed Secured Claim of Bank of
                 Houston, secured by liens on the Parking Garage.

                   4.3.2 Treatment. The Secured Class 3 Claim of Banlc of Houston shall be
                 Allowed and paid by the Reorganized Debtor pursuant to the terms of the pre-
                 petition loan documents, with the exception that the maturity date of the Modified
                 Second B H Note will be extended by sixty (60) months. Accordingly, the
                 Modified Second B H Note will mature in June 4, 2020. The pre-petition
                 arrearage will be added to the principal amount owed on the note and will be paid
                 upon maturity of the note on June 4, 2020. Bank of Houston shall retain its liens
                 pursuant to the terms of the pre-petition loan documents. The Debtors and Bank
                 of Houston shall execute all documents reasonably required to reflect the

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                 extension of the Modified Second B H Note. The monthly payment on the Class 3
                 Claim will be $30,332.56.

                   4.3.3     The Class 3 Claim is impaired.

        4.4       Class 4 Allowed Claim of Mercantile Capital Coiporation / 504 SBA Loan.

                   4.4.1 Classification: Class 4 consists of the Allowed Secured Claim of
                 Mercantile Capital Corporation (the "Interim Lender") in the amount of
                 $3,350,400.00, which is eligible to be converted to a pennanent S B A financing
                 (504 loan).

                   4.4.2 Treatment. Either before or as soon as practical after the Effective Date,
                 the Reorganized Debtors, together with the cooperation of the CDC, shall attempt
                 to secure funding of the 504 SBA loan (the "504 Loan") in the amount of no less
                 than $3,376,000, the proceeds of which shall be used to pay the Interim Lender in
                 full. Subject to approval by the SBA and Interim Lender, the 504 Loan shall be
                 reflected by a promissory note payable over 20 years with interest to accrue at 4%
                 (or the rate determined for an SBA debenture), and shall be secured by a second
                 lien and deed of trust on the Office Building pursuant to the terms of the pre-
                 petition Authorization for Debenture Guarantee between the Debtors and the
                 SBA. Until such time as the 504 Loan is approved and funded and the Interim
                 Lender is paid in full, the Debtors shall make all regular payments and otherwise
                 comply with the applicable loan documents.

                   4.4.3    Class 4 Claim is unimpaired.

        4.5         Class 5. Allowed General Unsecured Claims of $5,000 or Less

                   4.5.1 Classification:    Class 5 consists of the Allowed Unsecured Claims of
                 $5,000 or less.

                   4.5.2   Treatment: The Holders of Allowed Small Claims shall be paid 100%
                 of their Allowed Claim, without interest, on the Effective Date or the date such
                 Claims become Allowed Claims. If a creditor with an Allowed Unsecured Non-
                 Insider Claim in excess of $5,000 wishes to have their claim treated as a Class 5
                 claim and paid accordingly, then the creditor will make that election on the ballot
                 when voting, and the Allowed Claim will be limited to $5,000.

                   4.5.3    Class 5 Claims are impaired.

        4.6         Class 6. Allowed General Non-Insider Unsecured Claims Greater than $5,000.

                  4.6.1   Classification. Class 6 consists of Allowed Non-Insider General
                 Unsecured Claims Greater than $5,000.

                   4.6.2    Treatment. Allowed Class 6 Claims shall be paid in full, with simple
                 interest accruing from the Effective Date at the rate of 5%o per annum, payable in

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                 equal quarterly installments, begimiing on the first day of the first calendar
                 quarter following the Effective Date, and continuing on the same day of each
                 succeeding calendar quarter for a period of twenty (20) quarters. Allowed Class 6
                 General Unsecured Claims shall each receive a Pro Rata share of the quarterly
                 pavments until such Allowed Claims are paid in full. The Debtors shall be
                 allowed to offset any balance owed the Debtor by a Class 6 creditor and reduce
                 the allowed claim accordingly prior to any payment contemplated herein. The
                 total amount of Class 6 claims is approximately 284,495.

                   4.6.3    The Class 6 Claims are impaired.

        4.7         Class 7 Claims of Unsecured Claims of Insiders.

                   4.7.1   Classification. Class 7 consists of the Allowed Claims of Insiders,
                 including any unsecured claim of the Richey Parties.

                   4.7.2    Treatment. Allowed Class 7 Claims shall be paid in full, with simple
                 interest accruing from the Effective Date at the rate of 5% per annum, unless such
                 party agrees to accept a lesser amount or defer payment until all other Plan
                 payments have been completed. For Plan purposes, the Richey Family Limited
                 Partnership has a Class 7 claim of $1.4 million. The Plan payment to the Richey
                 Family Limited Partnership will be deposited into the Disputed Claim Reserve
                 until a final resolution of the Richey Parties disputed ownership interest in
                 Midtown Scouts Square Property, L P , is resolved by agreement or by final court
                 order/judgment.

                 If a court enters a final non-appealable judgment that the Richey Parties are
                 entitled to a 27% equity interest in Midtown Scouts Square Property, LP, then
                 upon satisfaction of the conditions set forth in Article 6.5, the $1.4 Class 7 claim
                 shall be converted thereto and the funds in the Disputed Claim Reserve will be
                 retumed to the Reorganized Debtor. The Richey Parties have stipulated that they
                 are no longer seeking a 50% ownership interest in Midtown Scouts Square, L L C .

                 The Allowed Class 7 Claims of Advanced Diagnostics Management, L L P ,
                 Chopra Imaging Centers, Inc., L. Chopra M.D., P.A., Sosa, Inc., and X-Ray X -
                 Press Coi-poration, have agreed to defer payment on their Allowed Claims until
                 Classes 1, 2 and Class 6 Claims are paid in full, and as long as there is no defauh
                 in Plan payments to Classes 3 and 4 and such payments do not violate any
                 covenants of the SBA loan documents.

                   4.7.3    The Class 7 Claims are impaired.

        4.8      Class 8.    Allowed Interests of Equity Holders.

                 4.8.1       Classification: Class 8 consists of the Allowed Equity Interests in the
                             Debtors. Article 6.4 provides that Atul Lucky Chopra ("Chopra") is
                             and will continue to be the sole equity holder of the Debtors.


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                 4-8.2        Treatment: Article 6.4 provides that Chopra shall retain 100% of the
                              equity interest in the Reorganized Debtors in exchange for (i)
                              contributing $550,000 to the Reorganized Debtors on or before the
                              Effective Date, (ii) contributing an additional $150,000 to the
                              Reorganized Debtors within sixth months of the Effective Date, (iii)
                              converting to equity his pre-petition unsecured claim of $260,624.36,
                              and (iv) agreeing to convert to equity all amounts advanced to the
                              Reorganized Debtor under the DIP Facility. In consideration Chopra
                              shall retain his interests in the Reorganized Debtors but shall receive
                              no distributions until such time as the creditors in Classes 1, 3, 5 and 6
                              are paid in full according to the tenns of the Plan, and as long as there
                              is no defauh on the payments to Classes 2, 4 and 7, and such payments
                              do not violate covenants of any SBA loan documents.

                              Article 6.5 provides that i f a court enters a fmal non-appealable
                              judgment that the Richey Parties are entitled to a 27% equity interest
                              of Midtown Scouts Square Property, LP, then the Richey Parties shall
                              be issued a 27% limited partnership interest in the Reorganized Debtor
                              Midtown Scouts Square Property, LP, upon satisfaction of the terms
                              and conditions contained within Article 6.5 herein.

                 4.8.3        Impaimient: Class 8 is impaired under the Plan.



                                          ARTICLE 5
                               VOTING OF C L A I M S A N D INTERESTS

         5.1    Classes 2, 3, 5, 6 and 7 are impaired and therefore are entitled to vote on this Plan.
Classes 1 and 4 are unimpaired and not entitled to vote. Accordingly, the acceptances of Class 2,
3, 5, 6 and 7 Claims must be solicited.

         5.2     The Class 8 Equity Interest Holders are impaired and therefore are also entitled to
vote.

         5.3     The draft form of ballot for voting on the Plan is attached hereto as Exhibit C.

                                              ARTICLE 6
                                 M E A N S FOR E X E C U T I O N OF P L A N

        6.1     Vesting of Propertv of the Estate in Reorganized Debtors. On the Effective Date
of the Plan, all property of the Debtors and of the Estates shall vest in the Reorganized Debtors
free and clear of liens, claims and encumbrances, except as otherwise provided in the provisions
ofthis Plan.

        6.2     Continuation of Business Operations. From and after the Effective Date of the
Plan, the Reorganized Debtors are authorized to continue its normal business operations and
enter into such transactions as it deems advisable, free of any restriction or limitation imposed

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under any provision of the Bankruptcy Code, except to the extent otherwise provided in the Plan.
The cash flow of the operations and the Equity Infusion shall be used to fund payments required
by the Plan. The Financial Projections and Plan Sources and Uses for the Reorganized Debtors
are attached as Exhibit C to the Disclosure Statement.

       6-3     Directors and Officers / Management of Reorganized Debtors. The Officers and
Directors of the Debtor are authorized to continue as Officers and Directors of the Reorganized
Debtors from and after the Effective Date of the Plan. Lucky Chopra will continue to serve as
the sole member of Midtown Scouts Square, L L C and the sole limited partner of Midtown
Scouts Square Property, LP. The Debtors expect to incur a monthly fee of approximately $3,000
to an affiliated management company to manage the Office Building and Parking Garage. If
Option B of Article 6.5 is implemented, an unrelated management company will be retained at a
market rate to manage the Office Building and Parking Garage.

        6.4     Equitv Infusion: Lucky Chopra shall (i) contribute $550,000 to the Reorganized
Debtors on or before the Effective Date, (ii) agree to contribute an additional $150,000 to the
Reorganized Debtors within sixth months of the Effective Date, (iii) agree to convert to equity
his pre-petition unsecured claim of $260,624.36, and (iv) agree to convert to equity all amounts
advanced to the Reorganized Debtor under the DIP Facility. Detail regarding the Equity
Contribution, the Financial Projections and Plan Sources and Uses are attached as Exhibit C to
the Disclosure Statement.

         6.5    If a court having jurisdiction over the Richey Litigation issues a final non-
appealable judgment that the Richey Parties own a 27% equity interest in Midtown Scouts
Square Property, L P , the Reorganized Debtors shall cause to be issued limited partnership
interest to the Richey Parties as follows:

                Name                                              Equitv Percentage
                Richey Family Limited Partnership, Ltd:            17%
                L.E. Richey                                       5%
                Todd Richey                                       5%

        The conditions precedents for issuance of the Ibregoing 27% limited partnership interest
are as follows:

           i.   The Richey Parties shall execute personal guarantees of the SBA Loan in a form
                substantially similai- to the guarantee agreements executed by the Guarantors on
                January 31, 2011 for the benefit of Mercantile Capital Coiporation, and
                acceptable to the SBA;
          ii.   To the extent required by the Bank of Flouston, the Richey Parties shall execute
                personal guarantees of the two Bank of Flouston promissory notes in a form
                substantially similar to the guarantee agreements executed by the Guarantors.
         iii.   The Richey Parties shall provide the S B A personal fmancial statements,tax
                returns, and other financial reporting as required by the SBA for guarantors.
         iv.    To the extent required by the Bank of Houston, the Richey Parties shall provide
                the Bank of Houston personal financial statements,tax returns, and other financial
                reporting as required by Bank of Houston for guarantors

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           V.    The Richey Parties waive all ownership rights to Midtown GP.
          vi.    The Richey Parties shall contribute on a pro-rata basis cash to Midtown Scouts
                 Square Property, LP, in an amount totaling 27% of the total Equity Infusion
                 contributed by Lucky Chopra as described in Article 6.4.
         vii.    To the extent the Richey Parties fail to contribute additional equity as described
                 herein, their 27% equity interest may be treated as set forth in Section 4.2(c) of
                 the Agreement of Limhed Partnership of Midtown Scouts Square Property, L P ,
                 dated December 13, 2010.' Service of the Confirmation Order by US Mail upon
                 the Richey Parties shall constitute the required notice for additional capital
                 contributions required by the Richey Parties.
        viii.    The SBA approves the inclusion of the Richey Parties as equity holders.

       To be clear, i f Article 6.5 is implemented, the Class 7 unsecured Claim of the Richey
Family Limited Partnership, Ltd., in the amount of $1.4 million will be converted to eqmty.

        6.6     Restated Agreement of Limited Partnership and Company Agreement. At the
Reorganized Debtors' option, the Company Agreement of Midtown Scouts Square, L L C , and the
Agreement of Limited Partnership of Midtown Scouts Square Property, LP, may be modified to
prohibit the issuance of non-voting equity security to the extent required by Code § 1123(a)(6)
and such other modifications as may be approved in the Confmnation Order.

       If Article 6. 5 is implemented, the Agreement of Limited Partnership will be Amended
and Restated. The proposed Amended and Restated Partnership Agreement is attached hereto as
Exhibit B.^ The Richey Parties shall be required to sign the Amended and Restated Partnership
Agreement ("Restated L P Agreement)".

       6.7    Amended and Restated Master Lease. On the Effective Date, the Debtors will
execute an amended and restated master lease with Advanced Diagnostics Management, L L P ,
Chopra Imaging Center, Inc., Chopra & Associates, X-Ray X-Press Corporation and Landmark
Houston Hospitality Group, L L C (collectively, "Advanced Diagnostics Healthcare") for the
Office Building pursuant to the requirements of the S B A debenture guarantee agreement.
Advanced Diagnostics Healthcare shall be the Operating Company under the S B A 504 Loan
Guarantee Agreement.

        6.8   Disbursing Agent. The Reorganized Debtors shall act as the Disbursing Agent. If
the Reorganized Debtors choose not to act as the Disbursing Agent, then they shall designate a
substitute.

       6.9      Treatment of Litigation Claims Against Debtors.                    Litigation claims against
Debtors shall be treated in this Plan as follows:

        Case No.2012-55272; Hicham Nafaa, Ali Bendella, and Neptunes Restaurant, LLC v.
        Atul Lucky Chopra, Midtown Scouts Square Property, LP, et., al. pending in the 152"''
        Harris County Court: To the extent this claim, or any part thereto, become an Allowed

  A copy of the Limited Partnership Agreement may be obtained by making a written request to counsel for the
Debtors.
" To be supplemented and filed with the Bankruptcy Court.

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        Claim under the terms of the Plan, it shall be treated as a Class 6 General Unsecured
        claim.

        Adversary Proceedmg No. 13-13108 Richey Family Limited Partnership, Ltd., L.E.
        Richey and Todd Richey v. Midtown Scouts Square Property, LP, et. al, pending in the
        United States Bankruptcy Court for the Southern District of Texas, Houston Division
        (removed Case No. 12-DCV-196262) formerly pending in the 268"' Judicial District of
        Fort Bend County, Texas (the "Richey Litigation"). As described in Article 4.7 above,
        Richey Family Limited Paitnership has an unsecured Class 7 Claim in the amount of $1.4
        million, which will be paid over 60 months at 5% interest. Until the Richey Litigation is
        resolved with a final determination as to the Richey Parties claims of ownership of 27%
        of the Equity Interest in Midtown Scouts Square Property, LP, the payments on the Class
        7 claim of Richey Family Limited Partnership, Ltd., shall be held in the Disputed Claim
        Resei've.

       6.10 Exclusive Rights and Duties of the Disbursing Agent.                            The duties of the
Disbursing Agent shall be as follows:

                 6.10.1       Distribution to Creditors with Administrative Claims. In accordance
                              with Article 3 the Disbursing Agent shall pay the Administrative and
                              Priority Claims first out of Cash on hand generated from operations.

                 6.10.2       Distributions to Creditors with Allowed Claims. The Disbursing
                              Agent shall have the sole right and duty to make the distributions
                              provided for hereunder as set forth in Article 4.

        6.11 Powers of the Disbursing Agent. The Disbursing Agent shall have full power and
authority to do the following.

                 6.11.1       The Disbursing Agent shall be authorized to make disbursements to
                              Administrative and Priority Creditors in accordance with Article 3 and
                              other Creditors in accordance with Article 4.

                 6.11.2       The Disbursing Agent shall be authorized to file all reports required
                              under law, including state and federal tax retums, and to pay all taxes
                              incuixed by the Bankruptcy Estate.

                 6.11.3       The Disbursing Agent shall be authorized to take any and all actions,
                              including the filing or defense of any civil actions or Claim objections
                              necessary to accomplish the above.

                 6.11.4       The Disbursing Agent shall be authorized to employ and pay
                              reasonable fees and expenses of such attorneys, accountants, and other
                              professionals, as may be deemed necessary to accomplish the above
                              and shall be entitled to reserve sufficient Cash to pay the projected fees
                              and costs to such Professionals on a post-confirmation basis, and shall
                              be authorized to purchase insurance with such coverage and limits as


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                             are reasonably necessary, including covering liabilities incurred in
                             connection with its service as Disbursing Agent.

                 6.11.5      The Disbursing Agent may suspend distribution to any Creditor that
                             has not provided the Disbursing Agent with its Federal Tax
                             Identification number or social security number, as the case may be.

                 6.11.6      Execute any loan documents and other S B A approval documents
                             necessary to effectuate the tenns of this Plan.

         6.12    Presumption of Disbursing Agent's Authoritv. In no case shall any party dealing
with the Disbursing Agent in any manner whatsoever be obligated to see that the terms of its
engagement have been complied with, or be obligated or privileged to inquire into the necessity
or expediency of any act of the Disbursing Agent, or to inquire into any other limitation or
restriction of the power and authority of the Disbursing Agent, but as to any party dealing with
the Disbursing Agent in any manner whatsoever in relation to the assets, the power of the
Disbiu-sing Agent to act or otherwise deal with said property shall be absolute except as provided
under the terms of the Plan.

        6.13     Limitation on Disbursing Agent's Liabilitv.

                 6.13.1      Except gross negligence or willful misconduct, no recourse shall ever
                             be had directly or indirectly against the Disbursing Agent personally or
                             against any employee of the Disbursing Agent by legal or equitable
                             proceedings or by virtue of any statute or otherwise, nor upon any
                             promise, contract, instrument, undertaking, obligation, covenant or
                             agreement whatsoever executed by the Disbursing Agent pursuant to
                             this Plan, or by reason of the creation of any indebtedness by the
                             Disbursing Agent for any purpose authorized by the Plan, it being
                             expressly understood and agreed that all such liabilities, covenants and
                             agreements of the Disbursing Agent or any such employee, whether in
                             writing or otherwise shall be enforceable only against and be satisfied
                             only out of the assets of the Bankruptcy Estate and every undertaking,
                             contract, covenant or agreement entered into in writing by the
                             Disbursing Agent shal! provide expressly against the personal liability
                             of the Disbursing Agent.

                 6.13.2      The Disbursing Agent shall not be liable for any act the Disbursing
                             Agent may do or omit to do as Disbursing Agent hereunder while
                             acting in good faith and in the exercise of the best judgment of the
                             Disbursing Agent and the fact that such act or omission was advised,
                             directed or approved by an attorney acting as attorney for the
                             Disbursing Agent, shall be evidence of such good faith and best
                             judgment; nor shall the Disbursing Agent be liable in any event except
                             for gross negligence or willful default or misconduct of the Disbursing
                             Agent.



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        6.14     Establishment and Maintenance of Disputed Claims Reserve:

                 6.14.1      Distributions made in respect of any Disputed Claims shall not be
                             distributed, but shall instead be deposited by the Disbursing Agent into
                             an interest-bearing account styled "Disputed Claims Reserve". The
                             funds in this account shall be held in trust for the benefit of the
                             Holders of all Disputed Claims.

                 6.14.2      Unless and until the Bankruptcy Court shall determine that a good and
                             sufficient reserve for any Disputed Claim is less than the full ainount
                             thereof, the calculations required by the Plan to determine the amount
                             of the distributions due to the Holders of Allowed Claims and to be
                             reserved for Disputed Claims shall be made as i f all Disputed Claims
                             were Allowed Claims in the full amount claimed by the Holders
                             thereof No payment or distribution shall be made with respect to any
                             Claim to the extent it is a Disputed Claim unless and until such
                             Disputed Claim becomes an Allowed Claim.

                 6.14.3      At such time as a Disputed Claim becomes an Allowed Claim the
                             distributions due on account of such Allowed Claim and accumulated
                             by the Debtor (including the Pro Rata share of any dividends or
                             interest eamed in respect of such distributions) shall be released from
                             the account and paid by the Debtor to the Holder of such Allowed
                             Claim.

                 6.14.4      At such time as any Disputed Claim is finally determined not to be an
                             Allowed Claim, the amount on reserve in respect thereof shall be
                             released from the account and returned to Debtor.

                 6.14.5      The Disbursing Agent shall not be required to withhold funds or
                             consideration, designate resei-ves, or make other provisions for the
                             payment of any Claims that have been Disallowed by a Final Order of
                             the Bankruptcy Court as of any applicable time for distribution under
                             the Plan, unless the Bankruptcy Court orders otherwise or unless the
                             Court's order of disallowance has been stayed.

        6.15 Deliverv of Distributions. Subject to Bankruptcy Rule 9010 and the provisions of
the Plan, distributions to Holders of Allowed Claims shall be made at the address of each such
Holder as set forth on the proofs of Claim filed by such Holders (or at the last known addresses
of such a Holder i f no proof of Claim or proof of Equity Interest is filed or if the Disbursing
Agent has been notified in writing of a change of address), except as provided below. If any
Holder's distribution is returned as undeliverable, no further distributions to such Holder shall be
made unless and until the Disbursing Agent is notified of such Flolder's then current address, at
which time all missed distributions shall be made to such Holder without interest. Amounts in
respect of undeliverable distributions shall be returned to the Disbursing Agent until such
distributions are claimed.



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         6.16 Time Bar for Cash Payments. Checks issued by the Disbursing Agent in respect
of Allowed Claims shall be null and yoid if not negotiated within six months after the date of
issuance thereof Requests for reissuance of any check shall be made directly to the Disbursing
Agent by the Holder of the Allowed Claim with respect to which such check originally was
issued. Any Claim in respect of such a voided check shall be made on or before the later of (a)
the first anniversary of the Effective Date or (b) ninety (90) days after the date of reissuance of
such check. After such date, all Claims in respect of void checks shall be discharged and forever
barred.

         6.17 Unclaimed Property. If any Person entitled to receive distributions under the Plan
cannot be located within a reasonable period of time after the Effective Date, the distributions
such Person would be enthled to receive shall be held by the Disbursing Agent in a segregated
interest-bearing account. If the Person entitled to any such distributions is located within six
months after the Effective Date, such distributions, together with any dividends and interest
eamed thereon, shall be paid and distributed to such Person. If such Person cannot be located
Vv'ithin such period, such distributions and any dividends and interest thereof shall be retumed to
the respective Debtor and such Person shall have waived and forfeited his right to such
distributions. Nothing contained in this Plan shall require the Debtor or the Disbursing Agent to
attempt to locate such Person. It is the obligation of each Person claiming rights under the Plan
to keep the Debtor and/or the Disbursing Agent advised of current address by sending written
notice ofany changes to the Debtor and/or the Disbursing Agent.

        6.18 Fractional Dollars. Any other provision of the Plan notwithstanding, no payments
of fractional dollars will be made to any Holder of an Allowed Claim. Whenever any payment
of a fraction of a dollar to any holder of an Allowed Claim would otherwise be called for, the
actual payment made will reflect a rounding of such fraction to the nearest whole dollar (up or
down).

        6.19    Minimum Payment. The minimum amount of any distribution shall be $25. I f a
payment is due in an amount less than $20, then such payments is hereby waived and the funds
shall be retained by the Reorganized Debtors.

        6.20 Distribution Dates. Whenever any distribution to be made under the Plan is due
on a day other than a Business Day, such distribution will instead be made, without penalty or
interest, on the next Business Day. The Bankruptcy Court shall retain power, after the
Confirmation Date, to extend distribution dates for cause, upon motion and after notice and a
hearing (as defined in Bankruptcy Code Section 102) to affected parties.

        6.21    Orders Respecting Claims Distribution. After confirmation of the Plan, the
Bankruptcy Court shall retain jurisdiction to enter orders in aid of consummation of the Plan
respecting distributions under the Plan and to resolve any disputes concerning distributions under
the Plan.

        6.22 Avoidance Actions. The Reorganized Debtor retains any Avoidance Actions and
is authorized, but not required, to prosecute them after the Confinnation Date. The Net Proceeds
of Avoidance Actions will be distributed to Holders of Allowed Class 4 Claims (as set forth
above), but compromises of Avoidance Actions may also benefit the Reorganized Debtor or


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Debtor or Holders of Claims of other Classes.               The Debtor does not anticipate filing any
Avoidance Actions.

        6.23 Agreements. Instruments and Documents. A l l agreements, instruments and
documents required under the Plan to be executed or implemented, together with such others as
may be necessaiy, useful, or appropriate in order to effectuate the Plan shall be executed on or
before the Effective Date or as soon thereafter as is practicable.

        6.24 Further Authorization. The Debtor shall be entitled to seek such orders,
judgments, injunctions, and rulings from the Bankruptcy Court, in addition to those specifically
listed in the Plan, as may be necessary to carry out the intentions and purposes, and to give full
effect to the provisions, ofthe Plan. The Bankruptcy Court shall retain jurisdiction to enter such
orders, judgments, injunctions and rulings.

                                             ARTICLE 7
                            C R A M D O W N AND CLAIMS A L L O W A N C E

        7.1     In the event any Class rejects the Plan, the Debtors will seek to invoke the
provisions of Section 1129(b) of the Bankruptcy Code and confirm the Plan notwithstanding the
rejection of the Plan by any Class of Claims or Interests.

        IN T H E EVENT ANY CLASS REJECTS T H E PLAN T H E DEBTORS
        WILL SEEK T O INVOKE T H E PROVISIONS OF 11 U.S.C. §1129(b) AND
        CONFIRM T H E PLAN OVER T H E REJECTION OF T H E CLASS OR
        CLASSES.    T H E TREATMENT AFFORDED E A C H CREDITOR IN
        E A C H CLASS IN T H E EVENT OF A CRAMDOWN WILL B E T H E
        SAME AS THAT PROVIDED FOR IN T H E PLAN AS T H E CASE MAY
        BE.

        7.2    Allowance of Claims under the Plan. Allowance is a procedure whereby the
Bankruptcy Court determines the amount and enforceability of Claims against the Debtors, if the
parties cannot agree upon such allowance. It is expected that the Debtors and/or the Disbursing
Agent will file objections to Claims of Creditors, i f any are deemed necessary, before and after
confirmation of the Plan. The Plan merely provides for payment of Allowed Claims, but does
not attempt to pre-approve the allowance of any Claims.

        7.3     Obiection Deadline. As soon as practicable, but in no event later than one
hundred eighty (180) days after the Effective Date, unless extended by order ofthe Bankruptcy
Court for cause, objections to Claims shall be filed with the Bankruptcy Court and served upon
the Flolders of each of the Claims to which objections are made.

        7.4    Prosecution of Obiections. On and after the Effective Date, except as the
Bankruptcy Court may otherwise order, the filing, litigation, settlement or withdrawal of all
objections to Claim may be made by the Debtor and/or Disbursing Agents.




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                                               ARTICLE 8
                                               DEFAULT

       8.1       If any of the following events occur, the Debtors will be in breach of this Plan
("Defauh"):

                 8.1.1       Failure to pay any amount due under the Plan when due; or

                 8.1.2       Breach or violation of a material covenant or uncured default under the
                             Plan, including failure to pay amounts due.

        8.2    Should the Debtors be in breach or violation under the foregoing paragraph, or
Default has occurred and thereafter the Debtors fail to remedy or resolve such breach within
thirty (30) days from the date of receipt of written notice of such breach, violation or default,
then any Creditor owed a distribution, which the Debtors fail to make when due, at its option,
may declare that the Debtors are in default of this Plan.

                                               ARTICLE 9
                             E X E C U T O R Y CONTRACTS A N D LEASES

       9.1    The Debtors hereby assumes the executory contracts and leases set forth in
Exhibit A listed as "assumed" and reject all executory contracts listed as "reject." If an
executory contract is not listed on Exhibit A it shall be deemed rejected.

        9.2      Any Claims arising from rejection of an executory contract or lease must be filed
on or before 20 days from the Effective Date. Otherwise, such Claims are forever baned and
will not be entitled to share in any distribution under the Plan. Any Claims arising from
rejection, if timely filed and allowed, will be paid as General Unsecured Claims.

        9.3     The Debtors shall pay all cure claims in the amount listed on Exhibit A on or
before 30 days after the Administrative Claims Bar Date set in paragraph 3.1, unless a Claim is
filed before the Administrative Claims Bar Date in an amount different from that set forth on
Exhibit A , in which case the cure claim will be paid when and i f allowed by Final Order of the
Bankruptcy Court.



                                          ARTICLE 10
                                   MODIFICATION OF THE P L A N

        10.1 The Debtors may propose amendments and modifications of this Plan through the
Confirmation Date with leave of the Bankruptcy Court upon appropriate notice. After the
Confirmation Date, the Reorganized Debtors may, with approval of the Bankruptcy Court, so
long as it does not materially or adversely affect the interests of the Creditors, remedy any defect
or omission, or reconcile any inconsistencies in the Plan or in the Confirmation Order in such
manner as may be necessary to can-y out the intent of this Plan. After the Confirmation Date, the
Debtors may, with approval of the Bankruptcy Court, modify the Plan as to any Class, even
though such modification materially affects the rights of the Creditors or Interest Holders in such

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Class; provided, however, that such modifications must be accepted as to Classes of Creditors by
at least sixty-six and two-thirds percent (66-2/3%) in amount of Allowed Claims voting in each
such Class and fifty-one percent (51%) in number of Allowed Claims voting in such Class, and
as to Classes of Interest Flolders by at least sixty-six and two-thirds percent (66-2/3%) in amount
of Allowed Interests vofing in each such Class; and provided, further, that additional disclosure
material needed to support such modification shall be approved by the Bankruptcy Court in the
manner consistent with Section 1125 of the Bankruptcy Code and Rule 3017 of the Federal
Rules of Bankruptcy Procedure. With respect to all proposed modifications to the Plan both
before and after confirmation, the Debtors shall comply with the requirements of Section 1127 of
the Bankruptcy Code.

                                           ARTICLE 11
                                      CONDITIONS PRECEDENT

         11.1 Conditions to Confinnation. Confirmation ofthe Plan shall not occur and the
Bankruptcy Court shall not enter the Confirmation Order unless all of the requirements of the
Bankruptcy Code for confirmation of the Plan with respect to the Debtors shall have been
satisfied. In addition, confirmation shall not occur, the Plan shall be null and void and of no
force and effect, and the Plan shall be deemed withdravm unless the Court shall have entered all
orders (which may be orders included within the Confirmation Order) required to implement the
Plan.

        11.2 Waiver and Nonfulfillment of Conditions to Confirmation. Nonfulfillment of any
condition to confirmation of the Plan may be waived only by the Debtors. In the event the
Debtors determine that the conditions to the Plan's confirmation which they may waive cannot
be satisfied and should not, in their discretion, be waived, the Debtors may propose a new plan,
may modify this Plan as permitted by law, or may request other appropriate relief

         11.3 Confinnation Order Provisions for Pre-Effective Date Actions. The Confirmation
Order shall empower and authorize the Debtors to take or cause to be taken, prior to the Effective
Date, all actions which are necessary to enable it to implement the provisions of the Plan and
satisfy all other conditions precedent to the effectiveness of the Plan.

        11.4 Conditions to the Effective Date. The following are conditions precedent to the
effectiveness of the Plan: (i) the Plan is confinned and the Bankruptcy Court shall have entered
the Confirmation Order, which shall have become a Final Order; (ii) Debtors do not withdraw
the Plan at any time prior to the Effective Date; and (iii) the Reorganized Debtors shall have
sufficient Cash on hand to make the initial payments and distributions required under the Plan.

        11.5 Waiver and Nonfulfillment of Conditions to Effective Date. Nonfulfillment of
any condition set forth in the immediately foregoing paragraph of the Plan may be waived only
by the Debtors. In the event that the Debtors determine that the conditions to the Plan's
Effective Date set forth in the immediately foregoing paragraph of this Plan cannot be satisfied
and should not, in their sole discretion, be waived, the Debtors may propose a new plan, may
modify this Plan as permitted by law, or may request other appropriate relief




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                                        ARTICLE 12
                          JURISDICTION OF THE B A N K R U P T C Y COURT

       12.1 Notwithstanding entry of the Confimnation Order or the Effective Date having
occurred, the Bankruptcy Court shall retain exclusive jurisdiction of this case after the
Confirmation Date with respect to the following matters:

                 12.1.1      To allow, disallow, reconsider (subject to Bankruptcy Code Section
                             502(i) and the applicable Bankruptcy Rules) Claims and to hear and
                             determine any controversies pertaining thereto;

                 12.1.2      To estimate, liquidate, classify or determine any Claim against the
                             Debtor, including claims for compensation or reimbursement;

                 12.1.3      To resolve controversies and disputes regarding the interpretation and
                             implementation of the Plan, including entering orders to aid, interpret
                             or enforce the Plan and to protect the Debtor and any other entity
                             having rights under the Plan as may be necessary to implement the
                             Plan;

                 12.1.4      To hear and determine any and all applications, contested matters, or
                             adversary proceedings arising out of or related to this Plan or this case
                             or as otherwise might be maintainable under the applicable
                             jurisdictional scheme of the Bankruptcy Code prior to or after
                             confirmation and consummation of the Plan whether or not pending on
                             the Confirmation Date;

                 12.1.5      To enter and implement such orders as may be appropriate in the event
                             the Confirmation Order is for any reason stayed, reversed, revoked or
                             vacated;

                 12.1.6      To liquidate or estimate damages or determine the manner and time for
                             such liquidation or estimation in connection with any contingent or
                             unliquidated Claim;

                 12.1.7      To adjudicate all Claims to any lien on any of the Debtors' assets;

                 12.1.8      To hear and determine matters concerning state, local and federal taxes
                             pursuant to the Bankruptcy Code, including (but not limited to)
                             sections 346, 505 and 1146 thereof and to enter any order pursuant to
                             Bankruptcy Code Section 505 or otherwise to determine any tax of the
                             Debtor, whether before or after confirmation, including to determine
                             any and all tax effects of the Plan;

                 12.1.9      To correct any defect, cure any omission, or reconcile any
                             inconsistency in the Plan or the Confirmation Order as may be
                             necessary to carry out the purposes and intent of the Plan or to modify
                             the Plan as provided by applicable law;

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                 12.1.10      To determine all questions and disputes regarding title to assets and
                              shares of the Debtors, Reorganized Debtors or of the Bankruptcy
                              Estate, as may be necessary to implement the Plan;

                 12.1.11     To enforce and to determine actions and disputes concerning the
                             releases contemplated by the Plan and to require persons holding
                             Claims being released to release Claims in compliance with the Plan;

                 12.1.12     Tofixthe value of collateral in connection with determining Claims;

                 12.1.13     To enter a final decree closing the case and making such final
                             administrative provisions for the case as may be necessary or
                             appropriate.

                 12.1.14     To, (even after entry of a fmal decree), hear any cases enforcing
                             Banki-uptcy Code section 525.

        12.2 Failure of the Bankruptcv Court to Exercise Jurisdiction. If the Bankruptcy Court
abstains from exercising, or declines to exercise, jurisdiction or is otherwise without jurisdiction
over any matter arising in, arising under or related to the Chapter 11 case, including the matters
set forth in Section 12.1 of the Plan, this Article 12 shall have no effect upon and shall not
control, prohibit or limit the exercise of jurisdiction by any other court having jurisdiction with
respect to such matter.

                                          ARTICLE 13
                                    EFFECT OF CONFIRMATIQN

        13.1 Binding Effect. As provided for in Section 1141(d) of the Bankruptcy Code, the
provisions of the Plan shall bind the Debtor, any entity acquiring property under the Plan and any
Creditor, Equity Holder of the Debtor, whether or not the Claim or Interest of such Creditor or
Equity Holder is impaired under the Plan and whether or not such Creditor or Equity Holder has
accepted the Plan, and the United States and any licensing authority. After confirmation, the
property dealt with by the Plan shall be free and clear of all Claims and Interests of Creditors and
Equity Holders, except to the extent as provided for in the Plan as the case may be. The
Confirmation Order shall contain an appropriate provision to effectuate the terms of this
paragraph 13.1.

        13.2 Satisfaction of Claims and Interests. Holders of Claims and Interests shall receive
the distributions provided for in this Plan, if any, in full settlement and satisfaction of all such
Claims, and any interest accrued thereon, and all such Interests.

        13.3 Vesting of Property. Except as otherwise expressly provided in the Plan or the
Confirmation Order, pursuant to Section 1141(b) of the Bankruptcy Code, upon the Effective
Date, all Property of the Bankruptcy Estate shall vest in the Debtor free and clear of all Claims,
liens, encumbrances, charges or other Interests of Creditors and Interest Holders. Except as
otherwise expressly provided in the Plan or the Confirmation Order, all assets of the Bankruptcy
Estate shall vest in the Reorganized Debtors free and clear of all Claims, liens, and
encumbrances. Moreover, all licenses and permits held by the Debtor shall be held by the

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Reorganized Debtor. A l l licenses or permits held by the Debtors or the Bankruptcy Estate will
be retained by the Reorganized Debtors.

        13.4 Discharge. Pursuant to Section 1141(d) of the Bankruptcy Code, upon the
Effective Date, the Debtors shall be discharged from any debt that arose before the date of such
confirmation, and any debt of a kind specified in Section 502(g), 502(h) or 502(i) of the
Bankruptcy Code, whether or not a proof of the Claim based on such debt is filed or deemed
filed under Section 501 of this title; such Claim is allowed under Section 502 of this title; or the
Holder of such Claim has accepted the Plan.

       13.5 Iniunction. The Confirmation Order shall include a permanent iniunction
prohibiting the collection of Claims in any manner other than as provided for in the Plan.
All Holders of Claims shall be prohibited from asserting against the Debtors, Reorganized
Debtors, or any oftheir assets or properties, any other or further Claim based upon any act
or omission, transaction or other activity of any kind or nature that occurred prior to the
Confirmation Date, whether or not such Holder filed a proof of Claim. Such prohibition
shall apply whether or not (a) a proof of Claim based upon such debt is filed or deemed
filed under Section 501 of the Bankruptcy Code; (b) a Claim based upon such debt is
allowed under Section 502 of the Bankruptcy Code; or (c) the Holder of a Claim based
upon such debt has accepted the Plan. This injunction also permits the Reorganized
Debtors to enforce 11 U.S.C. §525(a) upon improper revocation or restriction of licenses.

         13.6 Preservation of Setoff Rights. In the event that the Debtor have a Claim of any
nature whatsoever against the Holders of Claims, the Debtor smay, but is not required to setoff
against the Claim (and any payments or other distributions to be made in respect of such Claim
hereunder), subject to the provisions of Section 553 of the Bankruptcy Code. Neither the failure
to setoff nor the allowance of any Claim under the Plan shall constitute a waiver or release by the
Debtors of any Claim that the Debtors have against the Holder of Claims. Neither this provision
nor the injunctive provision of the Confirmation Order shall impair the existence of any right of
setoff or recoupment that may be held by a Creditor herein; provided that the exercise of such
right shall not be permitted unless the Creditor provides the Debtor with written notice of the
intent to affect such setoff or recoupment. If the Debtors or the Disbursing Agent, as applicable,
objects in writing within twenty (20) business days following the receipt of such notice, such
exercise shall only be allowed upon order of the Bankruptcy Court. In the absence of timely
objection, the Creditor may implement the proposed setoff or recoupment against the Claim held
by the Bankruptcy Estate.

       13.7 Releases. On the Effective Date and pursuant to Secfion 1123(b)(3)(A) of the
Bankruptcy Code, the Debtors, and to the maximum extent provided by law, its agents,
release and forever discharge all claims, including acts taken or omitted to be taken in
connection with or related to the formulation, preparation, dissemination, implementation,
confirmation or consummation of the Plan, the Disclosure Statement or any contract,
instrument, release or other agreement or document created or entered into or any other
act taken or entitled to be taken in connection with the Plan or this case against the
following, whether known or unknown:




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                 13.7.1      Atul Lucky Chopra, his agents, attorneys and representatives
                             ("Insider Released Parties"), in connection with any and all claims
                             and causes of action arising on or before the Confirmation Date
                             that may be asserted by or on behalf of the Debtors or the
                             Bankruptcy Estates and/or on account of the Debtors' Cases. The
                             release of these Insider Released Parties shall be conditioned upon
                             the occurrence of the Effective Date.

                 13.7.2      The Debtors' Professionals will be released from any and all
                             claims and liabilities other than willful misconduct or if the release
                             is otherwise restricted by the Texas Disciplinary Rules of
                             Professional Conduct.

        13.8    Guarantors. Nothing herein shall be deemed to release the liability of any non-
debtor guarantor to a Creditor; provided, however, that so long as the Reorganized Debtors are
current with respect to all of its obligations under this Plan and the Confirmation Order Creditors
may not pursue collection of their Claims from any guarantor. If the Reorganized Debtors
commit an uncured default in their obligations hereunder, including covenant defaults, then and
only then may Creditors seek relief against guarantors.

        13.9 Lawsuits. On the Effective Date, all lawsuits, litigations, administrative actions
or other proceedings, judicial or administrative, in connection with the assertion of Claims
against the Debtor except proof of Claim and/or objections thereto pending in the Bankruptcy
Court shall be dismissed as to the Debtor. Such dismissal shall be with prejudice to the assertion
of such Claim in any manner other than as prescribed by the Plan. All parties to any such
action shall be enjoined by the Bankruptcy Court by the Confirmation Order from taking
any action to impede the immediate and unconditional dismissal of such actions. A l l
lawsuits, lifigations, administrative actions or other proceedings, judicial or administrative, in
connection with the assertion of a claim(s) by the Debtors or any entity proceeding in the name
of or for the benefit of the Debtors against a person shall remain in place only with respect to the
claim(s) asserted by the Debtors or such other entity, and shall become property of the Post-
Confirmation Reorganized Debtors to prosecute, settle or dismiss as it sees fit.

        13.10 Insurance. Confirmation and consummation ofthe Plan shall have no effect on
insurance policies of the Debtors or Reorganized Debtors in which the Debtors or any of the
Debtors' representatives or agents is or was the insured party; the Reorganized Debtors shall
become the insured party under any such policies without the need of further documentation
other than the Plan and entry of the Confinnation Order. Each insurance company is prohibited
from denying, refusing, altering or delaying coverage on any basis regarding or related to the
Debtor's bankruptcy, the Plan or any provision within the Plan.

        13.11 U.S. Trustee Fees. The Debtors shall timely pay post-confirmation quaiterly fees
assessed pursuant to 28 U.S.C. § 1930(a)(6) until such time as the Bankruptcy Court enters a
final decree closing this Chapter 11 case, or enters an order either converting this case to a case
under Chapter 7 or dismisses the case. After confirmation, the Reorganized Debtors shall file
with the Bankniptcy Court and shall transmit to the United States Trustee a true and correct



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statement of all disbursements made by the Debtors for each month or portion thereof, that this
Chapter 11 case remains open in a fomat prescribed by the United States Tmstee.

        13.12 Term of Stavs. Except as otherwise provided in the Plan, the stay provided for in
this case pursuant to Bankruptcy Code Section 362 shall remain in full force and effect until the
Effective Date.

                                                ARTICLE 14
                                  M I S C E L L A N E O U S PROVISIONS

        14.1     Corporate/Partnership Authoritv. A l l actions and transactions contemplated
under the Plan shall be authorized upon confirmation of the Plan without the need of further
partnership, board or member resolutions, approval, notice or meetings, other than the notice
provided by serving this Plan on all known Creditors of the Debtors, all Interest Holders, and all
current directors, limited partners or managers of the Debtors.

        14.2     Documentation. The Debtors, all Creditors and other parties in interest required
to execute releases, termination statements, deeds, bills of sale or other documents required by
the Plan, shall be ordered and directed to execute such documents as are necessary in order to
effectuate the terms of this Plan. The Bankruptcy Court may determine that the failure of any
party to execute a required document shall constitute contempt of the Bankruptcy Court's
Confirmation Order, which shall require such documents to be executed in accordance with the
terms of the Plan and the Confirmation Order. On the Effective Date, all documents and
instmments contemplated by the Plan not requiring execution and delivery prior to the
Confirmation Date shall be executed and delivered by the Debtors, and Creditors, as the case
may be. A l l Documents shall be consistent with the terms of the Plan and shall otherwise be
subject to approval as to form by all respective counsel.

        14.3     Integration Clause. This Plan is a complete, whole, and integrated statement of
the binding agreement between the Debtors, Creditors, Equity Interests and the parties-in-interest
upon the matters herein. Parol evidence shall not be admissible in an action regarding this Plan
or any of its provisions.

        14.4     Primacv of the Plan and Confirmation Order. To the extent of any conflict or
inconsistency between the provisions of the Plan on the one hand, and the Confirmation Order on
the other hand, the provisions of the Confirmation Order shall govem and control.

        14.5     Severability. Should the Bankruptcy Court determine that any provision of the
Plan is unenforceable either on its face or as applied to any Claim or Equity Interest or
transaction, the proponent may modify the Plan in accordance with Article 12 hereof so that such
provision shall not be applicable to the Holder of any Claim or Equity Interest. Such a
determination of unenforceability shall not (a) limit or affect the enforceability and operative
effect of any other provision of the Plan or (b) require the resolicitation of any acceptance or
rejection of the Plan.

       14.6    No Admission. Neither the filing ofthe Plan, nor Disclosure Statement, nor any
statement or provision contained herein, nor the taking by the Debtors of any action with respect
to the Plan shall (i) be or be deemed to be an admission against interest and (ii) until the

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Effective Date, be or be deemed to be a waiver of any rights which the Debtors may possess
against any other party. In the event that the Effective Date does not occur, neither the Plan,
Disclosure Statement nor any statement contained herein may be used or relied upon in any
manner in any suit, action, proceeding or controversy within or outside of the Debtors' cases.

        14.7    Bankruptcv Restrictions. From and after the Effective Date, the Debtors shall no
longer be subject to the restrictions and controls provided by the Bankruptcy Code or Rules (e.g.,
section 363, section 364, rule 9019), the Bankruptcy Court, or the United States Trustee's
guidelines. The Disbursing Agent may, on behalf of the Debtors, compromise Claims and/or
controversies post-Effective Date without the need of notice or Bankruptcy Court approval. No
monthly operating reports will be filed after the Effective Date; however, the Disbursing Agent
shall provide the U.S. Trustee such fmancial reports as provided above and as the U.S. Trustee
may reasonably request until the entry of a fmal decree.

        14.8    Goveming Law. Unless a rule of law or procedure is supplied by federal law
(including the Bankruptcy Code and Banlcruptcy Rules) or the law of the jurisdiction of
organization of any entity, the internal laws of the State of Texas shall govem the constraction
and implementation of the Plan and any agreements, documents and instruments executed in
connection with the Plan or the Chapter 11 case, including the documents executed pursuant to
the Plan.

        14.9     Closing of Case. As soon as the Debtor has either obtained substantial
consummation or otherwise performed their obligations under the Plan the Reorganized Debtor
shall seek the entry of an Order of the Court closing this case.

         14.10 Successors and Assigns. The rights, benefits and obligations of any entity named
or referred to in the Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such entity.

       14.11 Notices. A l l notices or requests in connection with the Plan shall be in writing
and given by mail addressed to:

                 Midtown Scouts Square Property, LP
                 c/o Atul Lucky Chopra
                 8305 Knight Road
                 Houston, Texas 77054

        with copies to:

                 Edward L. Rothberg
                 Hoover Slovacek, L L P
                 5847 San Felipe, Suite 2200
                 Houston, Texas 77057


        A l l notices and requests to Persons holding any Claim or Interest in any Class shall be
sent to them at their last known address or to the last known address of their attorney of record in

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the case. Any such holder of Claim or Interest may designate in writing any other address for
purposes ofthis section, which designation will be effective upon receipt by the Debtors.
        14.12 Validitv and Enforceability. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been
altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to its
terms. Should any provision in this Plan be determined by the Court or any appellate court to be
unenforceable following the Effective Date, such determination shall in no way limh the
enforceability and operative effect of any and all other provisions ofthis Plan.

       14.13 Plan Supplement. Any and all exhibits or schedules not filed with the Plan shall
be contained in a Plan Supplement to be filed within ten (10) days of the Confirmation Hearing.




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    Respectfully submitted this 12'" day of May, 2012.


                                           M I D T O W N SCOUTS S Q U A R E P R O P E R T Y , L P

                                                By its general pailner:
                                                Midtown Scouts Squai*e. L^


                                                            Atul Lsil^lcy Chopra, its sole member


                                           MIDTOWN SCOUTS S Q U A R E , L L C



                                                            Atul Li^ckyXlhopra, its sole member.




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             EXHIBIT A - UNEXPIRE LEASES AND EXUTORY CONTRACTS

Counter-Party                   Description                             Assumed /           Cure Amount
                                                                        Rejected
Advanced Diagnostics            Building Management                     Assumed.            None.
Management, L L P               Agreement for Office Building           However, if
                                and Parking Garage                      Article 6.5 is
                                                                        implemented, it
                                                                        will be rejected
                                                                        and an unrelated
                                                                        third paily will
                                                                        be retained.
Operating Company (see          Master Lease for 1911 Bagby.            Debtor will         None.
Article 6.7)                                                            execute
                                                                        Amended and
                                                                        Restated Master
                                                                        Lease.
Blackfimi                       Retail space at 1910 Bagby              Assumed.            N/A
City of Houston                 Water meter easement on .3587           Assumed.            N/A
                                acre tract.
City of Houston c/o             Use and Occupancy of Public             Assumed.            None.
Director of Public Works        Street Right of Way
Houston Technology              Parking garage lease for 20             Assumed.            None.
Center                          spaces
Landmark Houston                1'' and 2"" floor of 1911 Bagby.        Rejected.           None.
Hospitality Group (Mr.          By agreement, will be
Peeples Steak + Seafood)        terminated and incorporated into
                                Amended and Restate Master
                                Lease Agreement with
                                Operating Company.




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EXHIBIT B - AMENDED AND RESTATED LIMITED PARTNERSHIP AGREEMENT



                                       TO B E S U P P L E M E N T E D




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                IN T H E U N I T E D S T A T E S B A N K R U P T C Y C O U R T
                  FOR T H E SOUTHERN DISTRICT O F T E X A S
                                  H O U S T O N DIVISION

    TN R E ;                                         §
                                                     §
    M I D T O W N SCOUTS SQUARE                      §           C A S E N O . 13-32920
    PROPERTY, LP                                     §                (Chapterll)
                                                     §
    M I D T O W N SCOUTS SQUARE, L L C               §
                                                     §
                                                     §
                   DEBTORS.                          §              Jointly A d m i n i s t e r e d
                                                     §             Judge K a r e n K . B r o w n




                 NOTICE OF FILING OF SUPPLEMENTAL EXHIBIT " B "
           T O D E B T O R S ' J O I N T C H A P T E R 11 P L A N O F R E O R G A N I Z A T I O N
                                    [ R E L A T E S T O D O C K E T #147]

        Midtown Scouts Square Property, L P and Midtown Scouts Square, L L C ("Debtors" or

" M i d t o w n Scouts"), Debtors in these jointly administered Chapter 11 cases, hereby file their

supplement to the Joint Chapter 11 Plan o f Reorganization [Docket #147] with the attached

Exhibit " B " , more particularly entitled as follows:

                 EXHIBIT B: A M E N D E D AND RESTATED A G R E E M E N T OF LIMITED
               P A R T N E R S H I P O F M I D T O W N SCOUTS S Q U A R E P R O P E R T Y , L.P.

        DATED:          September 8, 2014




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                                        Respectfully submitted,

                                        HOOVER SLOVACEK LLP

                                        By:      /s/ T. Josh Judd
                                                 EDWARD L. ROTHBERG
                                                 State B a r N o . 17313990
                                                 T. J O S H J U D D
                                                 State B a r N o . 24036866
                                                 5847 San Felipe, Suite 2200
                                                 Houston, Texas 77057
                                                 Telephone: 713.977.8686
                                                F a c s i m i l e : 713.977.5395
                                        A T T O R N E Y S F O R M I D T O W N SCOUTS SQUARE
                                        PROPERTY, LP A N D MIDTOWN SCOUTS SQUARE
                                        LLC




                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 8, 2014, a true and correct copy o f the foregoing
Notice o f Filing o f Supplemental Exhibit " B " to Debtors' Joint Chapter 11 Plan of
Reorganization has been served via the Court's E C F notification system by electronic mail to the
parties listed below and/or by U . S . first class mail, postage prepaid, to the parties listed on the
attached Service List.

                                                       /s/ T. Josh Judd
                                                       T. J O S H J U D D




13-32920 Notice w i l l be electronically mailed to:

Annie E Catmull on behalf o f Counter-Claimant M i d t o w n Scouts Square Property, L P
catmull@hoQverslQvacek.com.
bankruptcvl@hQQverslQvacek.com,mavle@hQQverslQvacek.comxatmuilannie@.gmailxom,rav
@hooverslovacek.com

A m i i e E Catmull on behalf of Counter-Claimant M i d t o w n Scouts Square, L L C
catmull(g).hoovers]ovacek.com,
bankruptcvlf%hQOverslovacek.com.mavlefg),hooverslQvacek.com.catmunannie(a^^
(5},hQQyerslovacek.com

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catmulI@hooverslovacek.com.




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bankruptcy l@]ioo verslo vacekxom,mavIe@hQQvmlQy
@hoover5l ova cek .coin

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catmull@hooverslovacek,com,
bankruptcy l^hooveislovaceLc^^^^^^
(g),hooverslovacek.cQm

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catmull@hooverslovacek.com,
bankruptcy 1 @hooverslovacekxom,mayle@lMQygrslovacek.comxatmullannie@Gmail.com
fgjho overs iQvacek.com

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@hooverslovacek.com

Tara L Grundemeier on behalf o f Creditor Harris County
houston banb-uptcy^publicansxom

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hsa.hedrickf5).arlaw.com. yicki.owens@arlaw.cQm.;cmiE.wilco^

L i s a M Pledrick on behalf o f Defendant Bank O f Houston
lisa.hedrick@arlaw.com. vicki.Qwens@arIaw.com;craia.wilcox@arlaw.com

Ellen Maresh Hickman on behalf o f U . S . Trustee U S Trustee
ellen,.hickman@usdoj .gov

Jennine Hovell-Cox on behalf o f Creditor AmeriPower, L L C
hovellcoxlaw@hqtmail.com. hoveltcQx@aol.com

Yolanda M Humphrey on behalf o f Creditor M i d t o w n Management District
houbank@pbfcm.cQm, tPQpe@pbfcm.com;vhumphrey@ecf.infQruptcv.com

Peter Johnson on behalf o f Interested Party Richey Family Limited Partnership, Ltd.
piQhnson@piIaw.com, msawyer@pilaw.com

Peter Johnson on behalf o f Plaintiff Richey Family Limited Partnership, Ltd.
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Peter Johnson on behalf o f Plaintiff L . E . Richey
pjQhn5on@PiIaw.com, msawyer@pilaw.cQm

Peter Johnson on behalf o f Plaintiff Todd Riehey




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iudd@hooverslovacek.com.
bankruptcyl@hoovei'slovacek.com,mayle@hoQyer5b^

T. Josh Judd on behalf o f Defendant M i d t o w n Scouts Square, L L C
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T. Josh Judd on behalf o f Plaintiff M i d t o w n Scouts Square Property, L P
judd@hooverslovacek.com,
bankruptcy l@hooverslovacek.eom,m.ayle@

Mazelle Sara K r a s o f f on behalf o f Debtor M i d t o w n Scouts Square Property, L P
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bankruptcy l.@hQoverslovacek,com,mkra3Qffbank@gmail.comj^^

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baiikruptcvl@hooyerslQvacek.com.mkrasoffbank@gm^a^^^^^^^

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krasoff@hooverslovacek.com,
banloTii^tcy^^^^

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bankruptcy 1 @hQQverslo vacek^^^                                     I .com .rav^hoQverslovacekxom

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i neese@lim gl Ip, com




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D . John NeesCj Jr. on behalf o f Defendant M i d t o w n Scouts Square, L L C
ineese@hmRllp.com

D . John Neese, Jr. on behalf o f Defendant A t u l Lucky Chopra, M . D .
jneese@hmgUp.com

D . John Neese, Jr. on behalf o f Plaintiff Midtown Scouts Square Property, L P
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niaYle@hQoyerslovacek.com,bankruptcvl@hQQve^^^^^^

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;navle@hoovcrslovacek.cQm.bankriiptcvl@hoQverslovacek.com:hsllpbankrnptcv@gmail.com

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rltate@tate-law.com. beben@Me"law.cQm;tdavey@tate-law.com:cbQden@tate"
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law.com:l<reis@tate-law.com;svida@tate"law.com

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law.eQm:kreis@tate-Iaw.com:svida@tate-law.c

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i;ltate@tate-law.eom. bebcn@tate-lawxom:tdavev@tate"lawxom;cbQden@tate-
la^y.com:k^eis@tate-law.cQm;sy^da@tate-law.com




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Richard L Tate on behalf o f Plaintiff Richey Family Limited Partnership, L t d .
rltate@tate-lavv.com. beben@Mte-Iaw.com;tdavey@iate"law.comx
law.cQmiki'eis@tate-law.com:svida@tate-Iav^\CQm

Richard L Tate on behalf o f Plaintiff L . E . Richey
rltate@tate-law.com, bcbcn@tate-law.com:tdavev@tate-law.com:cboden@tate-
lawxom:kreis@iate"law.cQm;svida@iate-lawxQm

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rh.gte@tate-law.com. beben@tate"law.com:tdavev@tate-law,corn;cboden@tate-
law.cQm:kreis@tate-'law.com;svida@tate"]aw.com

U S Trustee
USTPRegion07.HU.ECF@USDOJ.GOV




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                                   Midtown Scouts Square Property, LP
                                      Midtown Scouts Square, L L C
                                   Jointly Administered CHSC #13-32920
                                       JOINT F U L L SERVICE LIST
                                      (Excluding Master Service List)




        002 Magazine                        1911 Entertainment              Advanced Diagnostic Management, L L P
1824 Spring Street. Studio #002             8305 Knight Road                         8305 Knight Road
     Houston. T X 77007                     Houston, T X 77054                       Houston, T X 77054




     Boss and Hughes                    Business FlooringSpecialists                 Chopra & Associates
    7525 South Freeway                  1234 N . Post Oak. Suite 190                  8305 Knight Road
  Houslon, T X 77021-5928                   Houslon, T X 77055                       Houston, T X 77054




Chopra Imaging Centers, Inc.                 City of Houston                City of Houslon Mechl Section - Boilers
    8305 Knight Road                          P O B o x 1562                             P 0 Box 268S
    Houslon, T X 77054                      Houston, T X 77251                      Houston, T X 77252-2688



   Daniel D. Horowitz, III
                                   Director of Public Works & Engineering
 Abraham. Watkiiis. Nichols,
                                               City of Houston                  Enterprise Commercial Paving
  Sorrels, Agosto & Friend                                                             10 Stokes Street
                                   Attn: Richard P. Smith, Managing Eng.
    800 Commerce Street                                                              Houslon, T X 77002
                                                P O B o x 1562
  Houston. T X 77002-1776                    Houston, T X 77251


                                                                               Hicham Nafaa, A l i Bcndclla, and
        Grille 5115                              Hearsay                          Ncplunes Restaurant, L L C
     8305 Knight Road                       8305 Knight Road                      c/o Daniel D. Horowitz, III
     Houston, T X 77054                     Houston, T X 77054                       800 Commerce Street
                                                                                   Houston. TX 77002-1776




 Houston Technology Center                 D. E. Harvey Builders              Interventional Vascular Diagnostics
      410 Pierce Street                       P O Box 42008                            8305 Knight Road
    Houston, T X 77002                      Houston, T X 77242                        Houston, T X 77054




     L. Chopra M.D. P.A.                     Lucky A . Chopra                   Schindlcr Elevator Corporation
      8305 Knight Road                      8305 Knight Road                         1530 TimbcrwolfDr,
     Houston, T X 77054                     Houston, T X 77054                       Holland, O H 43528




   Mighty Works Signage                   M L N Service Company                  Mr. Peeples Steak + Seafood
      7016 Hemlock                         3931 Ann Arbor Drive                         16 Crestvvood
    Houston, T X 77087                    Houston, T X 77063-6301                    Houston, T X 77007




   New High End Finishes                     Newbart Products                           Nova Vision
    2500 Summer Strccl                      10424 Rockley Road                    524 East Woodland Circle
    Houston. T X 77007                      Houston, T X 77099                    Bowling Green, O H 43402
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Securities & Exeliangc Commission
                                             Smith Maekinnon, P A
         Attn: Angela Dodd                                                               SOSA. (lie.
                                             Attn Robert 0 . Marks
       175 W. Jackson Blvd.                                                           8305 Knight Road
                                                 P O Box 2254
              Suite 900                                                               Houston, T X 77054
                                            Orlando, F L 32802-2254
     Chicago, IL 60604^2908




   Southeast Fire Protection, L P       Twenty Two Global Transport L P            X-Ray X-Press Corporation
         PO Box 87728                           P O B o x 62588                       8305 Knight Road
       Houston, T X 77287                     Houston, T X 77205                      Houston, T X 77054




                                                 A T & T U-Vcrse
         A T & T U-Vcrsc                                                           Dynamic Cleaning Service
                                       Corporate Headquarters, Legal Dept.
          P O B o x 5014                                                              958 Neptune Lane
                                             208 South Akard Street
   Carol Stream, IL 60197-5014                                                       Houslon, T X 77062
                                                Dallas, T X 75202




     Facility Solutions Group               Holste & Associates, Inc,        Houston Downlown Management District
         5U5Steadmont                        6671 Southwest Fwy                      909 Fannin Suilc 1650
       Houston, T X 77040                     Houslon, T X 77074                      Houston, T X 77010




  Sehindler Elevator Corporation             The Roberts Law Firm                  Bagby Development, L L C
       1530 TimbcrwolfDr                    2555 N MacGregor Way                 6300 Carmel Road, Suite HOB
        Holland, Oh 43528                     Houston, T X 77004                     Charlotte, N C 28226




          Oroup R Sales                       Ulrich Engineers, Inc
      3421 Casablanca Way                       2901 WilcrestDr
      Fallbrook, C A 92028                          Suite 200
                                              Houston, T X 77042
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                                            Midtown Scouts Square, L L C
                                        Jointly Atlministcred Case #13-32920
                                         JOINT MASTER SERVICE LIST




Midlown Scouts Square Property, L P               Ellen M . Hickman                  Eric Mundinger
   Midtown Scouts Square, L L C           Office ofthe United States Trustee    Bridge Capital Corporation
        8305 KniglU Road                        515 Rusk Room 3516                 2365 Rice, Suite 201
       Houslon, T X 77054                        Houston, T X 77002                Houston. T X 77005



                                                 Harris County, el al.
        Harris County, el al,
                                               c/o Tara L.Grundemeier            Internal Revenue Service
       Tax Assessor-Collector
                                         Linebarger Goggan Blair & Sampson             P 0 Box 7346
           P 0 Box 4622
                                                    P O Box 3064               Philadelphia, PA 19101-7346
      Houslon, T X 77210-4622
                                              Houston. T X 77253-3503


                                        Texas Comptroller of Public Accounts
      Internal Revenue Service
                                            Revenue Accounting Division        Midtown Management District
         Insolvency Section
                                                Bankruptcy Section                   P. 0 . Box 73109
 1919 Smith M A I L STOP H O U 5022
                                                  P O Box 12548                   Houston, Texas 77273
         Houslon, T X 77002
                                              Austin, T X 78711-2548



                                                                               Mercantile Capital Corporation
                                                  Bank of Houston
                                                                                  60 North Court Avenue
        Secured Creditors:                   750 Bering Drive, Suite 100
                                                                                         Suite 200
                                                 Houston, T X 77057
                                                                                    Orlando, FL 32801




 20 Largest Unsecured Creditors:




       Allied Waste Services             Associated Time & Parking Controls           A W P Services
          P O Box 78829                          904 Diplomacy Row                 11410 Larkdalc Drive
      Phoenix. A Z 85062-8829                     Dallas. T X 75247                 Houston, T X 77099




                                                     BlackFinn
Belknap Concrete Cutting and Drilling                                                  Cueto, James
                                               c/o 1910 Bagby, L L C
         9030 Solon Road                                                            2500 Summer Street
                                           6300 Carmel Road, Suite 1 lOB
        Houston, T X 77064                                                          Houston. T X 77007
                                                Charlotte, N C 28226




                                                Grccnbcrg Traurig
      Discovery Constmction                                                         Harreli Arehilecls
                                                 Attn: Neil Vcrma
   701 N . Post Oak Rd. Suite 340                                              9575 Katy Freeway, Suite 200
                                          1000 Louisiana Strccl, Suite 700
        Houston, T X 77024                                                         Houston. T X 77024
                                                Houston. T X 77002



  Hicham Nafaa. Ali Bendella, and
     Neptunes Restaurant, L L C               Krenek Architects, Inc.              Lone Star Advantage
     c/o Daniel D, Horowitz, III           7115 S. Mason Road. Suite314        5222 FM1960 West, Suite 175
        800 Commerce Street                    Richmond, T X 77407                  Houslon, T X 77069
      Houston, T X 77002-1776
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            PyrotcK Systems, ftic                     Richey Family Limited Partnership                   Scott Youngblood C P A
                P O B o x 1639                                  PO Box 2569                                4512 Broadway Road
              Alvin, T X 77512                               StaHord, T X 77497                             Pearland. T X 77581




                                                                                                             Trio Electric Ltd.
         State Parking Services, Inc.                 Summit Landscaping Services, Inc,                 c/o Haynes and Boone. L L P
             1001 Texas Avenue                               12452 Cuttcn Road                               Attn: Karl Burrer
             Houston, T X 77002                             Houston. T X 77002                       1221 McKinney Street, Suite 2100
                                                                                                           Houston. Texas 77010



                                                                                                      Office ofthe Attorney General
      US Canvas & Awning Corporation                    Wholesale Restaurant Supply
                                                                                                     Bankruptcy - Collection Division
           8331 Northern Street                             1949 BingleRoad
                                                                                                              P O B o x 12548
            Houston, T X 77071                             Houslon. T X 77055
                                                                                                        Austin. Texas 78711-2548




             AmeriPower, L L C
               PO Box 16206
           .Sugar Land, T X 77496




                                                         Midtown Management District                        Bank of Houston
                                                c/o Cari Sandin, Owen Sonik, Yolanda Humphrey                c/o John Mayer
         Parties Requesting Notice:                Perdue Brandon Fielder Collins & Molt L L P      Ross Banks May Cron & Cavin PC
                                                       1235 North Loop West, Suite 600                    2 Riverway Suite 700
                                                              Houston. T X 77008                           Houslon, T X 77056


        Mercantile Capital Corporation                       AmeriPower, L L C                      Richey Family Limited Partnership
       c/o Eyal Berger and Brett Marks                    c/o Jennine Hovcll-Cox                            c/o Peter Johnson
           Akerman Senterfitt, P-A-                  Law Oft1ce,s of Jennine Hovell-Cox                Law Office of Peter Joimson
     350 East Las Olas Blvd., Suite 1600                      P O Box 16276                                 P. O. Box 980877
          Fort Lauderdale, F L 33301                    Sugar Land, T X 77496-6276                     Houston, Texas 77098^0877


        Alul Lucky Chopra, M . D                              Bank O f Houston                                 Harris County
         e/o D. John Neese, Jr.                           c/o Stephen Craig Wilcox                       c/o Tara L. Grundemeier
Hawash Meade Gaston Ncesc & Cicack, L L P                     Adams Reese L L P                  Linebarger Goggan Blair & Sampson, L L P
    1221 McKinney Street, Suite 3150                     1221 McKinney St, Sic 4400                           P. 0, Box 3064
          Houston. T X 77056                                 Houston, T X 77010                         Houslon, Texas 77253-3064


                Bank of Houston                        Midtown Management District
c/o Lisa M . Hedrick and Stephen Craig Wilcox      Carl 0 . Sandin, Owen Mark Sonik. and                  Smith Maekinnon, P A
         A D A M S A N D REESF^, L L P                      Yolanda M . Humphrey                          Attn: Robert O. Marks
             4500 One Shell Square              Perdue Brandon Fielder Collins <fe Mott, L L P                P.O. Box 2254
        701 Poydrass Street, Suite 4500                  1235 N . Loop W, Suite 600                      Orlando, F L 32802-2254
            New Orleans, L A 70139                          Houston, Texas 77008
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     AMENDED AND RESTATED AGREEMENT OF LIMITED
                    PARTNERSHIP

                                            OF


             MIDTOWN SCOUTS SQUARE PROPERTY, L,P.


                               A Texas limited partnership



                                  DATED EFFECTIVE AS OF




                                             EXHIBIT

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        THE LIMITED PARTNERSHIP INTERESTS REPRESENTED H E R E B Y H A V E
        BEEN ACQUIRED FOR INVESTMENT AND WERE                                        ISSUED        WITHOUT
        R E G I S T R A T I O N U N D E R T H E S E C U R I T I E S A C T O F 1933 ( " A C T " ) , O R T H E
        SECURITIES             LAWS       OF     A N Y STATE,         PURSUANTTO              APPLICABLE
        E X E M P T I O N S F R O M S U C H REGISTRATION. THESE INTERESTS M A Y NOT B E
        SOLD, PLEDGED, H Y P O T H E C A T E D OR OTHERWISE TRANSFERRED AT A N Y
        T I M E E X C E P T IN A C C O R D A N C E W I T H T H E R E S T R I C T I O N S C O N T A I N E D IN
        THIS I N S T R U M E N T ,       AND PURSUANT               TO EITHER            A N EFFECTIVE
        REGISTRATION STATEMENT UNDER THE A C T A N D A N Y APPLICABLE
        S T A T E SECURITIES L A W S , OR T H E R E C E I P T B Y T H E G E N E R A L P A R T N E R O F
        A N O P I N I O N O F C O U N S E L I N F O R M A N D S U B S T A N C E S A T I S F A C T O R Y T O IT
        THAT S U C H TRANSFER DOES N O T REQUIRE REGISTRATION UNDER A N Y
        APPLICABLE LAWS.


           AMENDED AND M S T A T E D A G R E E M E N T OF LIMITED PARTNERSHIP

                                                      OF

                          M I D T O W N SCOUTS SQUARE P R O P E R T Y , L.P.


                 THIS A M E N D E D A N D R E S T A T E D A G R E E M E N T OF LIMITED PARTNERSHIP
OF M I D T O W N SCOUTS S Q U A R E PROPERTY, L.P. (this "Agreement"), dated effective as of
                         (the "Effective Date"), is hereby duly agreed upon, adopted, approved, ratified,
and confiimed as the Agreement of Limited Partnership Agreement of Midtown Scouts Square Property,
L.P., a Texas limited partnership (the "Partnership"), by and among the parties executing this Agreement
as the Partners (as defined below) ofthe Partnership,

                 W H E R E A S , the Company was formed as a Texas limited liability company by the filing
of a Certificate of Formation with the Office of the Secretary of State of Texas effective September 23,
2010;

                "Effective Date" means                                      .

        W H E R E A S , the initial Partners of the Company have executed that certain Agreement of Limited
Partnership Agreement of Midtown Scouts Square Property, L.P. dated effective as of December 1, 20.10
(the "Original Agreement");

       W H E R E A S , on May 9, 2013, the Partnership filed a voluntary petition under Chapter U of the
United States Code (the "Bankruptcy Case'O;

        W H E R E A S , on May 13, 2014, Partnership filed a Joint Chapter 11 Plan of Reorganization (the
"Plan") in the Bankruptcy Case, that provides, among other things, for the admission of new Persons
being admitted as Limited Partners in the Partnership;

         W H E R E A S , pursuant to the Plan, Atul Lucky Chopra has/wiil contribute the following additional
equity to the Partnership:

                $260,624.36 (pre-petition claim)
                $299,500.00 (Bankruptcy Court approved DIP Financing through August 31,2014


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                $550,000.00 on or before the Effective Date ofthe PJan
                $150.000.00 within six months ofthe Effective Date ofthe Plan
TOTAL:          $ 1,260,124.36 (referred to herein as the "Chopra Additional Contribution)

         W H E R E A S , the parties hereto enter into this Agreement for the purposes of admitting certain
new Persons as Limited Partners, issuing Interests in the Partnership to such Persons, and amending and
restating the provisions regarding the governance and management of the Partnership.


                                               WITNESSETH:

        N O W , T H E R E F O R E , in consideration of the foregoing and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto agree as
follows:

                                                      ARTICLE I
             F O R M A T I O N ; P A R T N E R S H I P C E R T I F I C A T E ; F I L I N G S ; DEFINITIONS

                 1.1      Formation of Limited Partnership. The Partners hereby enter into and
        tbrm pursuant to the provisions of the Limited Partnership Act a limited partnership for the
        purposeand scope set forth herein below. Except as provided to the contrary in this Agreement, the
        rights, duties, status and liabilities of the Partners, and the formation, administration, dissolution
        and continuation or termination ofthe Partnership, shall be as provided intho Limited Partnership
        Act.

                1.2     Certificateof Limited Partnership. TheGeneral Partner has filed theCertificate
        of Limited Parlnershipfor the Partnership with the Secretary ofState ofthe State ofTexas.

                 1.3      Filings. The General Partner shall promptly execute and deliver such
        additional documents and perform such additional acts consistent with the terms of this
        Agreement as may be necessary to comply with the requirements of law for the formation,
        continuation, qualification and operation of a limited partnership under the laws of the State
        of Te.>ias, for the qualification or reformation and operation of a limited partnership in each
        other jurisdiction (if any) in which the Partnership shall conduct business and for the
        admission of Limited Partners on the Closing Date. Each Limited Partner agrees to execute
        and deliver any documentation requested by the General Partner for such formation,
        qualification and continuation.

                1.4      Definitions. As used in this Agreement, the following terms shall have the
        respective meanings indicated:
                         (a)     "Adjusted Capital Account Deficit" means, with respect to any
                Limited Partner, the deficit balance, if any, in such Limited Partner's Capital Account as
                of the end of the relevant fiscal year, after giving effect to the following adjustments;

                                        (i)     credit to such Capital Account any amounts which such
                        Limited Partner is obligated to restore pursuant to any provision of this
                        Agreement or is deemed to be obligated to restore pursuant to Treasury
                        Regulation Section l.704"2(g)(2); and

                                      (ii)    debit to such Capital Account the items described in
                        Treasury Regulation Sections 1.704-l(b)(2)(ii)Cd)(4), 1.704-I(b)(2)(ii)(d)(5) and


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                         1.704^1(b)(2)(ii)(d)(6).

                                  The foregoing definition of Adjusted Capital Account Deficit is intended
                to comply with the provisions of Treasury Regulation Section 1.704-l(b)(2)(ii)(d) and
                shall be interpreted consistently therewith.


                        (b)     "Additional Contributions"         shall have the meaning set forth in
                Sections 4.1 and 4.2 of this Agreement.

                         (c)      "Affiliate" means, with respect to a Partner, any Person that directly or
                indirectly, through one or more intermediaries, controls, is controlled by or under
                common control with such Partner. The term "control," as used in the immediately
                preceding sentence, means, with respect to a Person that is a corporation, the right to
                exercise, directly or indirectly, more than ten percent (10%) of the voting rights
                attributable to the shares of the conp-olled corporation, and with respect to a Person that is
                not a coi-poration, the possession, directly or indirectly, of the power to direct or cause the
                direction of the management or policies of the controlled Person.

                        (d)    "Agreement"' means this Agreement of Limited Partnership of Midtown
                Scouts Square Property, L.P.

                        (e)      "Appraised Value" means, with respect to the Parmership Property, or
                any part thereof, the market value of such property as estimated by an independent
                appraiser selected by the General Partner.

                        (f)     "Capital Account" shall have the meaning attributed to it in Article V of
                this Agreement.

                        (g)     "Capita! Contribution" means the total contribution to the capital ofthe
                Partnership for which a Partner is legally bound and obligated to make, which amount is
                designated as a Capital Contribution for such Partner pursuant to Article IV of this
                Agreement.

                        (h)     "Cash From Refinancing" means the cash proceeds received by the
                Partnership from the refinancing of any Partnership indebtedness.

                        (i)    "Cash From Sales" means the cash proceeds received by the
                Partnership from the sale, exchange or other Disposition of any item of Partnership
                Property.

                        (j)      "Certificate of Limited Partnership" means the Certificate of Limited
                Partnership for this Partnership in the form and substance attached hereto as Schedule C,
                which was filed by the General Partner to effect the organization of the Partnership or
                any other certificate of this Partnership filed subsequent thereto which complies with
                Section 2.01 of the Limited Partnership Act.

                       (k)      "Closing Date" means the date on which this Agreement is executed by
                the General Partner and the Limited Partners.

                        (1)      "Code" or "Internal Revenue Code" means the Internal Revenue Code


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                of 1986, as amended from time to time.

                         (m)    "Dispose," "Disposing" and "Disposition" mean a sale, assignment,
                transfer, exchange, mortgage, pledge or other disposition or hypothecation, including, but
                not limited to, a transfer by reason of death or the filing of voluntaiy or involuntary
                bankruptcy. For this purpose, conveyance to a spouse of a Partner In satisfaction of the
                spouse's community property righls in the Interest, or portion thereof, shall not be
                considered a gift, but shall be considered a Disposition.

                        (n)     "Distributable Cash From Operations" means cash receipts from the
                day-to-day operations of the Partnership without deduction for depreciation or
                amortization of intangibles, but after deducting all cash expenses payable in a given year,
                including reserves established by the General Partner which are deemed to be reasonably
                required for the proper operation of the business ofthe Partnership. ''Distributable Cash
                From Operations" does not include Cash From Refinancing or Cash From Sales.

                        (o)     ''General Partner" means Midtown Scouts Square, L L C , together with
                each other Person (if any) that subsequently becomes an additional or substituted General
                Partner in accordance herewith, but excluding any such Person that subsequently ceases
                to be a General Partner pursuant to the provisions of this Agreement. The term does not
                include a Person who is the transferee of a General Partner's Interest, or portion thereof,
                unless such Person becomes a substituted or additional General Partner.

                        (p)      "Gross Asset Value" means, with respect to any Partnership Property,
                the property's adjusted basis for federal income tax purposes, except as follows:

                                (i)     the initial Gross Asset Value of any property eontnbuted by a
                                        Partner to the Partnership shall be the gross fair market value of
                                        such property, as determined by the contributing Partner and the
                                        Partnership;

                                (ii)    the Gross Asset Value of all Partnership Property shall be
                                        adjusted to equal their respective gross fair market values, as
                                        determined by the General Partner as of the following limes: (1)
                                        the acquisition of an additional Interest in the Partnership by any
                                        new or existing Partner in exchange for more than a de minimis
                                        Capital Contribution, (2) the distribution by the Partnership to a
                                        Partner of more than a de minimis amount of Partnership
                                        Property other than money, whether in connection with a
                                        liquidation or otherwise, and (3) the liquidation of the
                                        Partnership within the meaning of Treasury Regulation Section
                                        1.704-i(b)(2)(ii)(g); provided, however, that adjustments
                                        pursuant to clauses (I) and (2) above shall be made only i f the
                                        General Partner reasonably determines that .such adjustments are
                                        necessary or appropriate to reflect the relative economic interests
                                        ofthe Partners;

                                (iii)   [he Gross Asset Value of any Partnership Property distributed to
                                        any Paitner shall be the Gross Asset Value of such property on
                                        the date of distribution;




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                                  (iv)    tlie Gross Asset Value of Partnership Property shall be increased
                                          (or decreased) to reflect any adjustments to the adjusted basis of
                                          such property pursuant to Code Section 734(b) or Code Section
                                          743(b), but only to the extent that such adjustments are taken
                                          into account in deteitnining Capital Accounts pursuant to
                                          Treasury Regulation Section 1.704-l(b)(2)(iv)(m); provided,
                                          however, that Gross Asset Value shall not be adjusted pursuant
                                          to this Section ].4(p)(iv) to the extent the General Partner
                                          detentiines that an adjustment pursuant to Section I.4(p)(ii)
                                          hereof is necessary or appropriate in connection with a
                                          transaction that would otherwise result in an adjustment pursuant
                                          to this Section 1.4(p)(iv); and

                                  (v)      if the Gross Asset Value of Partnership Property has been
                                           determined or adjusted pursuant to Sections 1.4(p)(i), (il) or (iv)
                                           hereof such Gross Asset Value shall thereafter be adjusted by the
                                           depreciation or depletion taken into account with respect to such
                                           asset for purposes of computing Profits and Losses.

                         (q)      "Immediate Family" means, with respect to any individual, the
                spouse, children, parents, grandparents, parents-in-law, issue, nephews, nieces, brothers, sisters,
                brothers-in-law, sisters-in-law, children-in-law and grandchildren-in-lawofsuch Person,

                         (r)     "Interest" or "Interests" means the entire ownership interests and
                rights of a Partner in the Partnership,

                        (s)      "Limited Partner" or "Limited Partners" means each Person that is
                designated on the signature page hereto and that has executed this Agreement as a
                Limited Partner, together with each other Person (if any) that subsequently becomes an
                additional or substituted Limited Partner herein pursuant to Article III, but excluding any
                such Person that subsequently ceases to be a Limited Partner pursuant to the provisions of
                this Agreement.

                        (t)    "Limited Partnership Act" means the Texas Revised Limited
                Partnership Act Article 6I32a'I of the Texas Revised Civil Statutes Annotated, as
                amended from time to time.

                        (u)      "Majority-in-Interest" of the Partners or a class of Partners means
                those Partners owning more than fifty percent (50%) of the Sharing Ratios owned by all
                Partners or those Partners of such class, as the case may be.

                        (v)      "Major Decision" shall have the meaning attributable to it in Section
                8.1(d) of this Agreement.

                        (w)     "Negative Cash Flow" means the excess of costs, as defmed below,
                incurred with respect lo the operation of the Partnership Property over rental income from
                such property computed on a monthly basis. Costs considered in determining such
                amount shall be exclusively limited to repairs, maintenance, utilities, including waste
                disposal, management fees, rental commissions, state and local taxes, debt service,
                including principal, interest and fees on any mortgage, which are directly related to the
                Partnership Property. The monthly amount of Negative Cash Flow, i f any, shall be


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                determined by the General Partner pursuant to the parameters set forth above.

                         (x)    "Nonrecowrse Deductions" has the meaning set forth in Treasury
                Regulation Section 1.704-2(c). The amount of Nonrecourse Deductions for a Partnership
                fiscal year equals the excess, if any, of the net increase, if any, in the amount of
                Partnership Minimum Gain during that fiscal year over the aggregate amount of any
                distributions during that fiscal year of proceeds of a Nonrecourse Liability that are
                allocable to an increase in Partnership Minimum Gain, determined according to the
                provisions of Treasury Regulation Section 1.704-2.

                        (y)     "Nonrecourse Liability" has the meaning set forth in Treasury
                Regulation Section 1.704-2(b)(3).

                        (z)    "Partner Minimum Gain" means an amount, with respect to each
                Partner Nonrecourse Debt, equal to the Partnership Minimum Gain that would result if
                such Partner Nonrecourse Debt were treated as a Nonrecourse Liability, determined in
                accordance with Treasury Regulation Section 1.704-2(g).

                        (aa)    "'Partner Nonrecourse Debt" has the meaning set forth in Treasuiy
                Regulation Section 1.704-2(b)(4).

                         (ab)    "Partner Nonrecourse Deductions" has the meaning set forth in
                Treasury Regulation Section I704''2(i)(2). The amount of Partner Nonrecourse Deductions
                with respect toa PartnerNonrecourse Debt for a Partnership fiscal yearequals theexcess,if
                any, of the net increase, i f any, in the amount of Partner Minimum Gain attributable to
                such Partner Nonrecourse Debt during that fiscal year over the aggregate amount of any
                distributions during that fiscal year to the Partner that bears the economic risk of loss for
                such Partner Nonrecourse Debt to the extent such distributions are from the proceeds of
                such Partner Nonrecourse Debt and are allocable to an increase in Partner Minimum Gain
                attributable to such Partner Nonrecourse Debt, determined in accordance with. Treasury
                Regulation Section 1.704"2(i)(2).

                        (ae)     "Partners" means the General Partner and the Limited Partners.

                        (ad)    "Partnership" has tlie meaning attributed to it in Section 1.1.

                        (ae)   "Partnership Minimum Gain" has the                  meaning    set   forth in
                Treasuiy Regulation Sections L704-2(b)(2) and l.704-2Cd).

                        (af)     "Partnership Property" means that certain real property described on
                Schedule A attached hereto, together with all rights, privileges and appurtenances
                attached thereto, contributed to the capital o f t h e Partnership by the Partners and any
                other propeity purchased by the Partnership or contributed by the Partners subsequent to
                the execution of this Agreement.

                       (ag)     "Person" means an individual, partnership,              corporation,   trust,
                unincorporated association, or other entity or association.

                        (ah)     "Profit" or "Loss" of the Partnership shall mean an amount equal to
                the Partnership's taxable income or loss under Code Section 703(a) and Treasury Regulation
                Section 1703-1 forthe fiscalyear, adjusted as follows:


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                                 (i)      all items of income, gain, loss ordeductionrequired tobeseparately
                                          stated pursuant to Code Section 703(a)(1) shall be included;

                                 (ii)     tax-exempt income as described in Code Section 705(a)(1)(B)
                                          realized by the Partnership during such fiscal year shall be taken
                                          into account as if it were taxable income;

                                 (iii)   expenditures of the Partnership described in Code Section
                                         705(a)(2)(B) for such year, including items treated under
                                         Treasury Regulation . Section 1.704-l(b)(2)(iv)(i) as items
                                         described in Code Section 705(a)(2)(B), shall t)e taken into
                                         account as if they were deductible items;

                                 (iv)     items tliat are specially allocated to the Partners under Section 5.3
                                          shall beexcluded;

                                 (v)     with respect to property (other than money) which has been
                                         contributed to the capital of the Partnership, Profit and Loss shall be
                                         computed in accordance wilh the provisions of Treasury
                                         Regulation      Section      k704"l(b)(2)(iv)(g)     by    computing
                                         depreciation, amortization, gain or loss upon the value of such
                                         property as reflected on the books of the Partnership;

                                 (vi)    with respect to any property of the Partnership which has been
                                         revalued as required or permitted by Treasuiy Regulations under
                                         Code Section704(b), the amountof suchadjustment shallbe taken
                                         into account as gain or loss from the disposition of such asset for
                                         purpose ofeomputing Profits orLosses; and

                                 (vii)   the difference between the adjusted basis for federal income tax
                                         purposes and the fair market value of any Partnership
                                         Propei ty shall be treated as gain or loss from the disposition of
                                         such property in the event (1) any new or existing Partner
                                         acquires an additional Interest in the Partnership in exchange for
                                         a contribution to capital of the Partnership, and (2) such
                                         Partnership Property is distributed to a Partner as consideration
                                         for a reduction of such Partner's Interest in the Partnership or in
                                         liquidation of such Interest as defined in Treasury Regulation
                                         Section L704-l(b)(2)(ii)(g).

                        Interest paid on loans made lo the Partnership by a Partner and salaries, fees and
                other-compensation paid to any Partner shall be deducted in computing Profit and Loss.

                         (ai)  "Sixty-seven Percent of the Limited Partners" means Limited Partners
                owning sixty-seven percent (67%) or more ofthe Sharing Ratios owned by all Limited
                Partners.

                         (aj)    "Sharing Ratio" means, at ali times, the ratio that such Partner's Interest
                bears lo the Interests of all Partners, and is set forth for such Partner on the Schedule B to
                this Agreement.


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                                              A R T I C L E II
                             N A M E ; PURPOSE; P L A C E OFBUSINESS; TERM

                 2.1    Name. The name of the Partnership shail be "Midlown Scouts Square Propeity,
        L.P,," and the business of the Partnership shali be conducted under such name or under any other
        name or names as the General Partner may from time to time determine to be necessary,
        appropriate or advisable in furtherance of the purposes of the Partnership;

                 2.2      Purposes, The purpose of the Partnership shall be to (a) own the Partnership
        Property, (b) hold, manage and lease the Partnership Property, (c) when necessaiy or desirable,
        dispose of the Partnership Property, and (d) take any and all action reasonably related to the
        foi'egoing puiposes.

                2.3     Place ofBusiness. The principal office of the Partnership shall be 1911 Bagby
        Street,, Houston, Harris County, Texas 77002. The Partnership may, by giving notice thereof to
        the Limited Partners, move its principal place of business to such other place within the State of
        Texas as the General Partner may from time to time determine to be necessaiy, appropriate or
        advisable.

                2.4    Term. The Partnership shall commence on the effective date of this Agreement
        and, unless sooner terminated as herein provided, shall continue until the close of Partnership
        business on December 3!, 2036.

                                              ARTICLE m
                                       DISPOSITION OF AN INTEREST

                 3.1      Disposition by the General Partner. The General Partner shall have the righl,
        without the prior consent of any Limited Partner, to effect a Disposition of its Interest in the
        Partnership (a) to a Person who has acquired, by merger, consolidation or otherwise, substantially
        all of the General Partner's assets or capital stock and continued its business; (b) to an Affiliate of
        the General Partner; or (e) to a corporation controlled by the General Partner. Except as provided
        in the preceding sentence, if the General Partner Disposes of all or any portion of its Interest in
        the Partnership, the Person to whom the Interest, or portion thereof, has been Disposed shall be
        admitted as a substituted or additional General Partner only upon the written consent of at least
        Sixty-seven Percent ofthe Limited Partners. If a General Partner shall have ceased to own any
        Interest in this Partnership by reason of a Disposition as described in clause (a), (b) or (c) above,
        then, in such event, it shall be deemed that the General Partner's successor-in-interest to such
        Interest in the Partnership shall have succeeded to the position of the General Partner in this
        Partnership and all rights and obligations of the General Partner and such suecessor-in-interest
        shall become a substituted General Partner hereunder

                3.2      Disposition by a Limited Partner. Except as set forth in this Section 3.2, no
        Limited Partner shall have the right to effect a Disposition of all or any part of his Interest to any
        Person without (a) the prior written consent of the General Partner (which may be given or
        withheld in the sole discretion ofthe General Partner), and (b) compliance with tlie provisions of
        Sections 3.3 and 3.5. Notwithstanding anything in this Agreement to the contraiy, a Limited
        Partner (but not a transferee of a Limited Paitner who has not been admitted to the Paitnership as
        a Limited Partner) may transfer by gift his Interest, or a portion thereof, to a member of his
        Immediate Family or a trust of which members of his Immediate Family are the beneficiaries; or
        upon death by will or intestate succession without the consent of the General Partner or


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        compliance with Section 3.3- Any attempted Disposition by a Partner of its Interest in
        contravention of this Section 3.2 shall be null and void ah initio.

                 33     Legality. Notwithstanding any provision of this Agreement to the contrary
        except the provisions contained In Section 3.2 hereof, no Disposition by a Partner shall be
        effective unless (a) either (i) the Interest in the Partnership subject to such Disposition shall
        have been registered under the Securities Act of 1933 and any applicable state securities laws
        or (ii) the General Partner shall have received a favorable opinion ofthe Partnership's legal
        counsel) or of legal counsel acceptable to the General Partner, to the effect that such
        Disposition is exempt from registration under such laws; and (b) the General Partner shall
        have received a favorable opinion of the Partnership's legal counsel, or of legal counsel
        acceptable to the General Partner, to the effect that such Disposition would not (i) when
        added to the total of all other states, assignments or other Dispositions within the preceding
        twelve (12) months, result in the Partnership being considered to have terminated within the
        meaning of Code Section 708 or (ii) cause the Partnership to jeopardize its classification as a
        partnership for federal income tax purposes. Bach Disposition shall be effective as of the first
        day of the calendar month immediately succeeding the month in which the Partnership
        actually receives the aforesaid notification of Disposition.

                3.4     Status after Disposition. No Limited Partner shall have the right, without the
        prior written consent of each General Partner (which consent may be granted or withheld in
        the sole discretion of the General Paitner), to constitute its assignee as a substituted or
        additional Limited Partner. In addition, no Disposition by a Limited Partner shall release such
        Limited Partner from any of its obligations under this Agreement without the prior written
        consent of the General Partner (which consent may be granted or wilhheld in the sole
        discretion ofthe General Partner). A Person who receives an Interest but who is not admitted
        to the Partnership as a substituted or additional Partner shall not be entitled to vote the
        Interest of such Person. Such Person shall also not be entitled to Dispose of the Interest
        without fulfilling the conditions of Section 3.2 to the same extent and in the same manner as
        any Limited Partner which desires to effect a Disposition of an Interest.



                 3.5     Disposition Documents. The Partnership shall not recognize for any purpose
        any purported Disposition of ail or any portion of a Limited Partner's interest unless and until the
        provisions of this Article III shall have been satisfied and there shall have been delivered to the
        General Partner a dated notification of such Disposition (a) executed, acknowledged and sworn to
        by both the Limited Partner effecting such Disposition and the Person to whom such Interest is
        Disposed; (b) if the assignee is to become a substituted Limited Partner pursuant to the provisions
        of Section 3.2, containing the acceptance by such assignee of all of the terms and provisions of
        this Agreement (including, without limitation, a grant by such assignee to the General Partner and
        any successor thereto of the power of attorney set forth in Article Xl);-and (c) containing a
        representation that such Disposition was made in accordance with all applicable laws and
        regulations. Each Disposition shall be effective as of the first day of the calendar month
        immediately succeeding the month in which the Partnership actually receives the aforesaid
        notification of Disposition.

                3.6     Community Property Interest of Spouses.

                        (a)     In the event of the death of a Limited Partner's spouse in which the
        Limited Partner is not to receive by devise, inheritance or bequest his spouse's community
        property interest in the Partnership, or in the event of divorce from the Limited Partner, the


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        Limited Partner shall have the exclusive right and option to purchase all or any portion of the
        Interest to which the Limited Partner's spouse is entitled by virtue of any community propeity or
        other marital propeity laws, or any decree of separation, divorce or propeity division, upon the
        following terms:

                                (i)      The purchase price lo be paid for such Interest, or portion
                        thereof, shall be determined by an appraiser agreed to and appointed by the
                        General Partner, and the price shall be paid upon such terms as the Limited
                        Partner and the spouse may agree, or if they cannot so agree, the terms shall be
                        twenty percent (20%) cash with the remainder evidenced by a negotiable
                        promissoiy note payable in eight (8) equal quarterly payments of principal plus
                        quarterly interest payments thereon at an annual rate of two percent (2%) above
                        the applicable federal rate as set forth in Code Section 1274.

                                (ii)    The Limited Partner's option shall continue for a period of sixty
                        (60) days from the date of entry of a decree of divorce or for a period of sixty
                        (60) days from the date of qualification of the personal representative of the
                        spouse in the event ofthe spouse's death, as the case may be.

                                (iii) Such option shall be considered as exercised by the Limited Partner
                        when notice inwriting thereof has been delivered or mailed, properly addressed, to
                        his spouse orto her personal representative, as the case may be, accompanied by the
                        purchase price.

                         (b)     In the event the Limited Partner shall fail to exercise within the above
        prescribed periods the option provided for in Section 3.6(a) hereof, the spouse or personal
        representative of the spouse, as the ease may be, shall notify the General Partner, who shall notify
        the other Limited Partners, mid the other Limited Partners and then the General Partner (pro rata
        in accordance with their interests) shall have the option to purchase the Interest, or portion
        thereof, to whicii such spouse is entitled pursuant to the procedures described inth.is Section
        3,6(b) upon the terms and for the purchase price described in Section 3.6(a).

                          (c)     In the event the Limited Partner, the other Limited Partners and the
        General Partner do not, within the respective times and in the manner specified, exercise their
        options as described above, the spouse ofthe Limited Partner or the personal representative ofthe
        spouse, as the case may be, shall be considered a transferee of such Interest, or portion thereof,
        subject to the terms of this Agreement.

                                               A R T I C L E IV
                                              CONTRIBUTIONS

                4.1     General Partner's Contribution. Prior to the Effective Date, the General
        Partner has contributed to the capital of the Partnership One Hundred and 00/100 Dollars
        ($100.00) and an undivided One percent (1%) ownership interest in and to the Partnership
        Property. In the event the Limited Partners are required to make additional Capital Contributions
        pursuant to Section 4.2, the general Partner shall also be required to deliver the Partnership an
        amount of cash or other property required to maintain at least a one percent (1%) sharing ratio.

                4.2     Limited Partners' Contribution.

                        (a)      Pursuant to final, non-appealable court order or judgment, the following


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Persons are being admitted as new Limited Partners to the Partnership in the ratio identified herein. Prior
to the Effective Date, the following Limited Partners have made the initial contribution set forth opposite
their names below:

  Limited Partner                           Sharing Ratio           Initial Contibution


  Richey Family Limited Partnership, Ltd.I7.00%                     S880,000.00
  L.E. Richey                               5,00%                   $260,000.00
  Todd Richey                       5.00% $260,000.00

                     (b)     Additional Contributions.   Upon the E f f e c t i v e Date of this
Agreement and to reimburse Chopra on a pro-rata basis f o r the Chopra Additional
Contribution, the above new L i m i t e d Partners shall make the f o l l o w i n g mandatory
additional capital contributions to the capital o f the Partnership in the amounts set forth
opposite their names below:

                         Limited Partner                                    Contribution


                         Richey Family Limited Partnership, Ltd.            $214.22L14
                         L.E. Richey                                        563,006.22
                         Todd Richey                                        $63,006.22




                         (c)       Failure to Advance Additional Contributions

                                 (i)     If any Partner should fail to deposit with the General Partner his
                        share of the capital contributions required under this Section 4.2 or as identified
                        in the recital paragraphs within the time required, then any one or more of the
                        other Partners may advance such funds, and the amount so advanced shall be a
                        loan from the Partner or Partners advancing such funds to the Partner so
                        defaulting in his obligation hereunder. Such loan shall bear interest at the rate of
                        ten percent (10%) per annum from the date so advanced until paid. Such loan
                        and interest thereon shall be repaid out of the first disbursements to which the
                        defaulting Partner would otherwise be entitled as provided in Article VI if not
                        sooner repaid by the defaulting Partner, and each Partner hereby authorizes and
                        directs the General Partner to make disbursements to the Partner or Partners
                        advancing such funds in accordance with this Section 4.2, and each Partner
                        hereby releases the General Partner from any and all claims or liability for
                        making such disbursements. If such loan, together with interest thereon, has not
                        been paid within thirty (30) days from the date of said advancement, then the
                        Partner or Partners so advancing such funds shall have the option to purchase
                        from the defaulting Partner the Interest of the defaulting Partner from the
                        Partnership as follows:

                                            (A)     The purchase price for such Interest shall be an amount
                                            equal to one-half (1/2) of the total of ail amounts actually paid
                                            an/or contributed by such defaulting Partner to the Partnership
                                            (excluding the amount advanced to the Partnership by the



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                                          purchasing Partner on behalf of the defaulting Partner as
                                          contemplated in this Section 4,2(c)(i)) for his Interest In the
                                          Partnership as set forth in this Article IV.

                                            (B)    Such purchase price shall be paid at closing.

                                          (C) . Such option to purchase may be exercised by giving
                                          notice in writing, at any time within three hundred sixty five
                                          (365) days after the defaulting Partner fails to repay said
                                          advancement, stating that this option is thereby exercised and
                                          specifying the place, in the city of Houston, Texas, and the time
                                          when such purchase shall be closed. The closing of such
                                          purchase shali be within thirty (30) days afier the date of such
                                          notice, at the time and place specified in such notice.

                                  (ii)       Each Partner hereby constitutes and appoints each other Partner
                         its agent and aitomey-in-fact for the purpose of executing and delivering any and
                         all documents necessary to convey its Interest in the Partnership, and any
                         conveyance so made shall fully divest the Partner whose Interest is so conveyed
                         of all right, title or equity in or to the Partnership and its property. The power of
                         attomey herein granted, being coupled with an interest, is irrevocable and shall
                         not be revoked by the death of any Partner. Each Partner hereby releases the
                         Partner who conveys any Interest in the Partnership as provided in this Article IV
                         from any and all claims or liabilities for so conveying such Interest.


         4.3      Actions to be Taken in Connection with the Partnership Property. Promptly afier the
execution of this Agreement, the General Partner shall do ail acts and things necessary for the Partnership
to fulfill its obligations with respect to the Partnership Propeity and the assumption of the liabilities
associated therewith.

          4.4     Return of Contributions. Except as may be expressly provided herein, no Partner shall
be entitled to the return of its Capital Contribution or any other contribution to the Partnership, nor
entitled to be paid interest in respect of either of its Capital Account or any Capital Contribution made by
it to the Partnership. No unrepaid Capital Contribution shall fae deemed or considered to be a liability of
the Partnership or of any Partner. Except as expressly provided herein, no Partner shall be required to
conti'ibute or loan any cash or property to the Partnership to enable the Partnership to return any Partner's
contributions to the Partnership or to balance Capital Accounts.

                                                     ARTICLE V
                               C A P I T A L A C C O U N T S AND A L L O C A T I O N S

                5.1    Capital Accounts. A Partnership Capital Account shall be established for each
        PartnerandshaiibemaintainedforeaehPaitnerin accordancewiththefollowing provisions:

                        (a)     The Capital Account of each Partner shall be (i) credited with the amount
        of cash and the Gross Asset Value of any property contributed to the Partnership by such Paitner
        and with any profits allocated to such Partner pursuant to Section 5.2 and (ii) debited with the
        amount of cash and the fair market value of any property distributed to such Partner by the
        Partnership and with any losses allocated to such Partner pursuant lo Section 5.2.

                         (b)     In the event the Gross Asset Value of Partnership Property is adjusted



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        pursuant to Code Sections 734(b) or 743(b), the Capital Accounts of all Partners shall be adjusted
        simultaneously to reflect any adjustment to the adjusted basis of such Partnership Property to the
        extent provided by Treasury Regulation Section 1.704-1 (b)(2)(iv)(m).

                         (c)      In the event all or a portion of an Interest is transferred in accordance
        wilh the terms of this Agreement, the transferee shall succeed to the Capital Account of the
        transferor Partner to the extent it relates to the transferred Interest.

                          The foregoing provisions and the other provisions of this Agreement relating lo
        the maintenance of Capital Accounts are intended to comply with Treasury Regulation
        Sections 1.704-l(b) and 1.704-l(c) and shall be interpreted and applied in a manner consistent
        with such Treasury Regulations. In the event the General Partner shall determine that It is prudent
        to modify the manner in which the Capital Accounts, or any debits or credits thereto, are
        computed in order to comply with such Treasury Regulations, the General Partner may inake
        such modification, provided that it is not likely to have a material affect on the amounts
        distributable to any Partner upon the dissolution of the Partnership. The General Partner shall also
        (i) make any adjustments that are necessaiy or appropriate to maintain equality between the
        Capital Accounts of the Partners and the amount of Partnership capital reflected on the
        Partnership's balance sheet, as computed for book purposes, in accordance with Treasury
        Regulation Section L704-Ub)(2)(iv)(q), and (ii) make any appropriate modifications in the event
        unanticipated amounts might otherwise cause this Agreement not to comply with Treasury
        Regulation Section ],704-l(b).

                5^       Allocation ofProlits and Losses. A l l Profits and Losses ofthe Partnership shall
        be allocated to the Partners in accordance with their respective Sharing Ratios.

                  53     Overriding Allocations, Notwithstanding any other provisions of this Agreement,
        the following allocations shall be made prior to any other allocations and in the following order of
        priority;

                (a)     Minimum Gain Chargeback. I f there is a net decrease in Partnership
        Minimum Gain during any fiscal year so that an allocation is required by Treasuiy Regulation
        Section 1.704-2, items of income and gain shall be allocated to the Partners in the manner and to
        the extent required by such provision. This provision is intended to comply with the minimum
        gain chargeback requirement of Treasury Regulation Section 1.704-2(f) and shall be interpreted
        and applied consistently therewith.

                 (b)     Partner Minimum Gain Chargeback. If there is a net decrease in the minimum
        gain attributed to a Partner Nonrecourse Debt during any fiscal year so that an allocation is
        required by Treasuiy Regulation Section 1.704"2(i)(4) (minimum gain chargeback attributed to a
        partner nonrecourse debt), items of income and gain shall be allocated in the manner and to the
        extent required by such provision.

                  (c)      Qualified Income Offset. If a Limited Partner unexpectedly receives any
        adjustment allocation or distribution, described in Treasury Regulation Sections 1.704-
         l(b)(2)(ii)(d)(4), (5) or (6), items of Partnership income and gain shall be specially allocated to
        such Limited Partner in an amount and manner sufficient to eliminate, to the extent required by
        the Treasury Regulations, the Adjusted Capita! Account Deficit of such Limited Partner as
        quickly as possible provided thai an allocation pursuant to this Section 5.3(c) shall be made only
        if: and to the extent that, such Limited Partner would have an Adjusted Capital Account Deficit



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        after all other allocations provided for in this Aiticle V tentatively have been made as if this
        Section 5.3(c) was not in the Agreement

                 (d)       Partner Nonrecourse Deductions. Any Partner Nonrecourse Deductions shall be
        al located to the Partner who bears the economic risk of loss with respect to the loan giving rise to such
        deductions within the meaning ofTreasury Regulation Section 1.752-2.

                (e)      Nonrecourse Deductions. Nonrecourse Deductions for any fiscal year or other
        period of the Partnership shall be specially allocated one percent (1%) to the General Partner and
        ninety-nine percent (99%) to the L i m ited Partners.

                54       Other Allocution Rules.

                        (a)     For purposes of determining the Profits and Losses of the Partnership,
        Profits and Losses shall be determined on a daily, monthly or other basis, as determined by the
        General Paitner using any permissible method under Code Section 706 and the Treasuiy
        Regulations promulgated thereunder.

                        (b)     A l l allocations to the Partners pursuant to this Article V shall, except as
        otherwise provided, be divided among them in accordance with their Sharing Ratios.

                         (c)     Solely for purposes of determining a Partner's share of the "excess
        nonrecourse liabilities" of the Partnership within the meaning of Treasuiy Regulation Section
        1.752-3(a)(3), the Partners intend that they be considered sharing the profits ofthe Partnership in
        proportion to their respective Sharing Ratios.

                55      Code Section 704(c) Allocations. In accordance with Code Section 704(c) and
        the Treasury Regulations promulgated thereunder, income, gain, loss and deduction with respect
        to any property contributed to the capital o f t h e Paitnership shall, solely for tax purposes, be
        allocated among the Partners so as to take account of any variation between the adjusted basis of
        such propeity to the Partnership for federal income tax purposes and its initial Gross Asset Value
        (computed in accordance with Section 1.4(p)(i) hereof).

                         In the event the Gross Asset Value of any property is adjusted pursuant to
        Section 1.4(p)(ii) hereof, subsequent allocations of income, gain, loss and deduction with respect
        to such asset shall take account of any variation between the adjusted basis of sueh asset for
        federal income tax purposes and its Gross Asset Value in the same manner as under Code Section
        704(c) and the Treasuiy Regulations promulgated thereunder.

                Any elections or other decisions relating to such allocations shall be made by the General
        Partner in any manner that reasonably reflects the purpose and intention of this Agreement.
        Allocations pursuant to this Section 5.5 are solely for purposes of federal, stale and local taxes
        and shall not affect., or in any way be taken into account in computing, any Partner's Capital
        Account or share of Profits, Losses, or other items or distributions pursuant to any provision of
        this Agreement.

                                                   A R T I C L E VI
                                                 DISTRIBUTIONS

                    6.1 Distributable Cash From Operations. The General Partner shall pay or
        distribute, as soon as is reasonably feasible after the close of each calendar year, all Distributable


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        Cash From Operations for such calendar year, in the following order of priority;

                       (a)     to the payment of accrued interest on and principal of any Partnership
        indebtedness due and payable (other than indebtedness due and payable to Partners);

                       (b)     to the payment of accrued interest on and principal of any Partnership
        indebtedness due and payable to Partners;

                        (c)      to the provision for the repayment of principal and of interest on any
        Partnership debt.

                        (d)      to the Partners in an amount as is necessaiy to cause the Capital
        Accounts of the Partners to be in the proper ratio to their Sharing Ratios (but not in violation of
        the terms ofthe Plan); and

                         (e)     to the Partners in accordance with their Sharing Ratios (but not in
        violation ofthe terms of the Plan).

                 62       Cash From Sales and Cash From Refinancing. The General Partner shall pay
        or distribute, as soon as is reasonably feasible after the sale of any ofthe property comprising the
        Partnership Property or any other item of Partnership properly, all Cash From Sales received by
        the Partnership, subject to the establishment of reasonable reserves deemed by the General
        Partner to be required for any remaining liabilities which cannot reasonably be paid or
        determined, and ali Cash From Refinancing in the following order of priority:

                       (a)     to the payment of accrued interest on and principal of any Partnership
        indebtedness dueand payable (otherthan indebtedness dueandpayableto Partners);

                       (b)     to the payment of accrued interest on and principal of any Partnership
        indebtedness due and payable to Partners;

                        (c)      to the provision for the repayment of principal and of interest on any
        Partnership debt;

                         (d)     to the Partners in an amount as is necessary to cause the Capital
        Accounts of the Partners to be in the proper ratio to their Shanng Ratios (but not in violation of
        the terms of the Plan); and

                          (e)    to the Partners in accordance with their Capital Accounts (but not in
        violation of the tenns of the Plan).

                 63     Allocations and Distributions Among the Limited Partners,                 Except as
        expressly provided otherwise in olher sections of this Agreement, all allocations and distributions
        to the Limited Partners as a group pursuant to this Agreement shall be allocated and distributed to
        each Limited Partner in the ratio which that Limited Partners Sharing Ratio bears to the aggregate of
        the Sharing Ratios of all Limited Partners.

                6.4      Amounts Withheld. A l l amounts withheld pursuant to the Code or any provision
        of any slate or local tax law with respect to any payment or distribution to the Partnership, the
        General Partner or the Limited Partners shall be treated as amounts distributed to the General



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        Partner and the Lhnited Partners pursuant to this Artiele V I for all purposes under this Agreement
        'fhe General Partner may allocate any such amounts among the General Partner and the Limited
        Partners in any manner that is in aeeordance with applicable law.

                                           ARTICLE VII
                                 ADMINISTRATIVE AND T A X M A T T E R S

                7.1      Books and Records. The books and records ofthe Partnership shall be kept, at
        the expense ofthe Partnership by the General Partner at the principal office of the Partnership on
        a year ending Decenibei' 31st on the cash basis for all purposes, unless the cash basis cannot be
        used, in which event the accrual basis, and shail reflect all Partnership transactions and be
        appropriate and adequate for conducting the Partnership business. On or before the due date of
        the Partnership's federal tax return (including extensions thereoO for each calendar year, there
        shall be delivered to each Partner a statement setting forth the Partner's distributive share of
        Partnership income, gain, loss, deduction or credit required to be shown on the Partnership's
        federal tax return and, to the extent provided for by form or accompanying instructions, any
        additional information that may be required to apply particular provisions of Subtitle A o f the
        Code to the Partner with respect to items related to the Partnership.

                7.2     Inspection. Each Partner, or its agents, shall have the right, upon giving ten (10)
        business days' prior written notice to the General Partner, to inspect the books and records ofthe
        Partnership during reasonable business hours at the principal place of business of the Partnership.

                7.3      Bank Accounts. A l l funds of the Partnership shall be deposited in its name in
        an account or accounts maintained in a national bank in the State ofTexas having assets in excess
        of One Hundred Million and No/100 Dollars ($100,000,000.00). The funds ofthe Partnership
        shall not be commingled with the funds of any other Person. Checks shall be drawn upon the
        Partnership account or accounts only for the purposes of the Partnership, and shall be signed by
        sueh signatoiy party or parties as may be designated from time to time by the General Partner.

                7.4     Basis Election. If there is a distribution of property as described in Code Section
        734, or if there is a transfer of a Partnership Interest as described in Code Section 743, the
        General Partner may, upon the written request of any Partner, file on behalf of the Partnership an
        election under Code Section 754 to provide for an optional adjustment to the basis of the
        Partnership Property.

                 7.5     Subchapter K Election. No election shall be made by the Partnership or by any
        Partner to be excluded from the application of the provisions of Subchapter K of Chapter 1 of
        Subtitle A of the Code or any similar provisions of applicable state tax laws.

                7.6       Status of Creditor. No creditor who makes a nonrecourse loan to the Partnership
        shall have or acquire, at any time as a result of making the loan, any direct or indirect interest in
        the profits, capital or property of the Partnership other than as a secured creditor.

                7.7      Partnership Level Tax Audits. The Partners recognize that Midlown Scouts
        Square, L L C will be treated as the "tax matters partner" of the Partnership pursuant to Code
        Section 6231(a)(7). Midtown Scouts Square, L L C shall take such action as may be necessary to
        cause all Partners to become "notice partners" within the meaning of Code Section 6223, et seq.
        Midtown Scouts Square, L L C , shall keep all other Partners informed of all matters which may
        come to its attention in its capacity as tax matters partner by giving the other Partners notice
        thereof within thirty (30) days after it becomes informed of any such matter. Midtown Scouts


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        Square, L L C shall not take any action contemplated by Code Sections 6223 through 6233 unless
        it has first given the other Partners notice of the contemplated action and received the consent to
        such contemplated action of a Majority-in-Interest ofthe Limited Partners. This provision is not
        intended to authorize Midtown Scouts Square, L L C to take any action which is left to the
        determination of an individual Partner under Code Sections 6223 through 6233.

                                  A R T I C L E VIII
              MANAGEMENT; LIMITATIONS; MEETINGS; STANDARD OF CARE;
         INDEMNIFICATION; EXPENSES; COMPENSATION; R E M O V A L ; O T H E R FEES

                SLl     Management.

                         (a)     Except as provided for Major Decisions or as otherwise expressly
        provided in this Agreement, all decisions respecting any matter set forth herein or otherwise
        affecting or arising out of the conduct of the business of the Partnership shall be made by the
        General Partner, and the General Partner shall have the exclusive right and full authority to
        manage, conduct and operate the Partnership business. Specifically, but not by way of limitation,
        the General Partner shall use reasonable efforts:

                                (i)    to obtain permanent financing for the development of the Partnership
                                       Property;

                                (ii)   to enter into appropriate contracts to cany on the business of the
                Partnership;

                                 (iit) to supervise the maintenance and operation of the properties foi'
                which the Partnership is responsible in a inanner which satisfies in all respects the
                obligations imposed on the Partnership with respect to such maintenance and operation
                by this Agreement, by any mortgages encumbering such property from time to time, and
                by lease or rental agreements pertaining to such property;

                                 (iv) to rent vacant space within rental properties for which the
                Partnership is responsible;

                               (v) to collect all rentals, lease payments and other income which
                become due with respect to rental propert ies for which the Partnership is responsible;

                                 (vi) to inspect all properties for which the Partnership is responsible at
                regular intervals, and to be kept informed as to the condition ofthe same;

                               (vii) to attend to the making of necessary and proper capital
                improvements and repairs and the purchasing of supplies necessaiy for the proper
                operation, maintenance and repair of all properties for which the Partnership is
                responsible;

                                (viii) to obtain and continue in force all policies of insurance required by
                any mortgage, lease or other agreement relating to all properties ibr which the Partnership
                is responsible;

                                (ix)   to pay any and all taxes, charges and assessments that may be



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                 levied, assessed or imposed upon any of tiie assets of the Partnership, unless the same
                 are Contested by the General Partner; and

                                 (x) to pay on or before the due date thereof all amounts due and
                 payable by the Partnership to any Person or entity.

                          (b)     With respect to all of its obligations, powers and responsibilities under
        this Agreement, the General Partner is authorized to execute and deliver, for and on behalf of the
        Partnership, such notes and other evidences of indebtedness, contracts, agreements, assignments,
        leases, loan agreements, mortgages, deeds to secure debt and other security instruments, and
        deeds and any and all other documents and instruments as it may deem proper, all on such terms
        and conditions as it deems proper. The General Partner, for and in the name of and on behalf of
        the Partnership is hereby further authorized to (i) employ such agents, employees, managers,
        supervisors, architects, engineers, accountants, attorneys, real estate management companies,
        management service companies, consultants and other persons necessary or appropriate to carry
        out the business and affairs of the Partnership, and to pay such fees, expenses, salaries, wages and
        other compensation to such persons as it shall detennine;(ii) pay, extend, renew, modify, adjust,
        submit to arbitration, prosecute, defend or        compromise, upon such terms as it may
        determine and upon such evidence as it may deem sufrielent, any obligation, suit, liability, cause
        of action or claim, either in favor of or against the Partnership; and (iii) make any and all
        expenditures which it reasonably deems necessary or appropriate in connection with the
        management of the affairs of the Partnership and the canying out of its obligations and
        responsibilities under this Agreement.

                        (c)      Except as otherwise expressly provided for Major Decisions or as
        otherwise expressly provided in this Agreement, all decisions respecting any matter set forth
        herein or otherwise affecting or arising of the conduct of the business ofthe Partnership may be
        made by the General Partner, and the General Partner shall have the right and full authority to
        manage, conduct and operate the Partnership business. Any document or instrument which the
        General Partner is authorized to execute as herein provided shall be valid and binding on the
        Partnership and effective for all purposes.

                        (d)     Notwithstanding the foregoing provisions, no significant act shall be
        taken, sum expended, decision made or obligation incun'ed by the Partnership or any Partner with
        respect to any matter involving any Major Decision unless such act, sum, decision or obligation
        has been approved by a Majority-in-hiterest ofthe Partners. The Major Decisions shail include:

                                 (i)   acquisition of any land or interest therein;

                                (ii) all fmancing of Partnership (except obtaining permanent financing
                for the development ofthe Partnership Property, which decision shall be made solely by
                the General Partner);

                                (iii) sale, lease or other transfer or mortgaging or the placing or
                suffering the placing of any encumbrance on the assets of the Partnership or any parts
                thereof;

                                 (iv) selecting or vaiying depreciation and accounting methods,
                changing the fiscal year of the Partnership or making other decisions with respect to
                treatment of various transactions for bookkeeping or tax purposes;



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                                (v) approval of all construction and architectural contracts and all
                architectural plans, specifications and drawings prior to the construction of any
                improvements conteniptated thereby;

                                  (vi)   approval of each budget;

                                (viii) determination of the maximum and minimum working capital
                requirements of the Partnership;

                               (ix) development of an annual marketing plan for the properties for
                which the Partnership is responsible, including the advertising program, public relations
                program and marketing budget; ond

                                (x) any other decision or action which, by the provisions of this
                Agreement, is required to be approved by all the Partners.

                 $2      Meetings of Partners. Any matter requiring the consent of the Partners,
        including any amendment to this Agreement, may be considered at a meeting ofthe Partners held
        not less than seven (7) nor more than thirty (30) days atter a notice of such meeting, stating the
        date, time and place where such meeting is to be held and the purposes for wiiich it is called, is
        delivered to the Partners in accordance with the provisions of Section 12,3. The General Partner,
        or Limited Partners owning thii1y4hree and one-third percent (33-1/3%) of the aggregate Sharing
        Ratios owned by all Limited Partners, may call a meeting. The General Partner shail give the
        aforementioned notice of meeting upon the written request of Limited Partners owning such
        thirty-three and one-third percent (33-1/3%) of said Sharing Ratios. The presence at such meeting
        in person or by proxy of a Majority in-Interest ofthe Limited Partners shall constitute a quorum
        for the transaction of business. Except as otherwise expressly provided in this Agreement, all
        decisions ofthe Partners pursuant to this Section 8.2 shall be made by the concurring vote of the
        General Partner and Sixty-seven Percent of the Limited Partners. The Limited Partners do not
        acquire pursuant lo this Section 8.2 or by reason ofthe calling of any meeting any right herein to
        determine any matter relating to the Partnership except as expressly elsewhere specifically stated

                 8.3     Standard of Care; Conflicts. In the performance of its duties under this
        Agreement, the General Partner shall use its best efforts to conduct the business ofthe Partnership
        in a good and businessh'ke manner and in accordance with sound business practice in the industry.
        The General Partner shall not be held liable or responsible to any Partner or to the Partnership for
        any losses sustained or liabilities incurred in connection with or attributable to errors in judgment
        of the General Partner, excluding those which are attiibutable to a General Partner's gross
        negligence, bad faith or willful misconduct The Partners acknowledge that the General Partner
        and its Affiliates are engaged in activities other than the activities of the Partnership, and that the
        General Partner shall not be required to devote its full time to the management ofthe Partnership.
        The Partners also acknowledge that the General Partner may be a general partner of other limited
        partnerships, each of which may have investment objectives similar to the Partnership, and the
        General Partner and/or its Afllliates may own or acquire or have interests in other real estate
        projects which may create certain conflicts of interest between the Partnership and sueh other
        ownership, interest and projects, and agree that such activities by the General Partner and its
        Affiliates, even though in competition with the Partnership, shall not constitute a breach of this
        Agreement or any duty hereunder.

               8.4     Indemnification of the Gencnil Partner. The General Partner shall be
        indemnified and held harmless by the Partnership, to the extent that the Partnership assets are


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        sufficient therefor, from and against any and all claims, demands, liabilities, costs, damages and
        causes of action arising out of the General Partner's management of the Partnership affairs,
        except.where the claim at issue is based upon gross negligence, bad faith, breach of any material
        provision of this Agreement or willful misconduct of the General Partner. The Indemnification
        rights herein contained shall be cumulative of, and in addition to, any and all rights, remedies and
        recourses to which the General Partner shai! be entitled. The indemnification authorized by this
        Section 8.4 shall include the payment of reasonable attorneys' fees and other expenses incurred in
        settling.or defending any claims, threatened action or finally adjudicated legal proceedings. In
        addition, the indemnification authorized by this Section 8.4 sliall be subject to all procedural and
        other provisions as may now or hereafter be provided by applicable law.

                 8.5     Other Permitted Fees and Expenses. In connection with the conduct, operation
        and sale of the Partnership Property and the operation ofthe Partnership, the General Partner, on
        behalf of the Partnership, shall be authorized to incur such expenses as are in the General
        Partner's reasonable judgment necessary, appropriate or advisable for such purposes; provided,
        however, that no such expense shall be incurred other than at a price which reflects a competitive
        market rate for such expense; and provided further, that no contract or arrangement entered into
        by the General Partner on behalf of the Partnership with the General Partner or an Affiliate shall
        be on terms less advantageous to the Partnership than that generally available from an unaffiliated
        third party.

                8.6      Sale of the Partnership Property; Term Sales; Buyer's Promissoiy Notes.

                          (a)      Subject to the provisions of Section 8.1 hereof, the General Partner shall
        cause the Partnership to sell the Partnership Property at such times and at such prices as it deems
        to be in the best interest of the Partnership,

                        (b)      The General Partner shall not sell any part of the Partnership Property to
        an Afflliate or to itself at a price less than one hundred percent (100%) of Appraised Value
        (determined not more than three (3) months prior to such sale).

                         (c)      The General Partner, if it deems it to be in the best interest of the
        Partnership, may sell part of the Partnership Property for a consideration which in addition to
        cash includes a buyer's promissory note ("Buyer's Promissory Note") secured by a mortgage on
        the sold part of the Partnership Property ("Term Sale"). Any Term Sale may be made only i f the
        Buyer's Promissoiy Note has an interest rate not lower than two (2) percentage points over the
        then current yield on United States Treasury Bills having approximately a five (5) year maturity.
        For purposes of Section 1.4(p), a Buyer's Promissory Note shall be deemed to have a value
        equivalent to the original principal amount of such note.

                         (d)      The General Partner may sell the Buyer's Promissoiy Note as it deems
        advisable but shall sell such note no later dian the date distributions pursuant to Section 10.2 are
        made. If the General Partner sells the Buyer's Promissoiy Note pursuant to this Section 8.6(d) but
        is unable to find a non-Affiliate as a buyer, the General Partner may agree to purchase the Buyer's
        Promissoiy Note at the current fair market value as estimated not more than one (I) month prior
        to the purchase by an independent appraiser selected by the General Partner; provided, however,
        prior to purchasing such Buyer's Promissory Note, the General Partner will offer to sell the
        Buyer's Promissoiy Note to the Limited Partners who will be entitled to purchase such note for
        cash at a price not less than the price determined by the independent appraiser pursuant to this
        Section 8.6.




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                 8.7      Removal of General Partner. Upon lliirty (30) days' prior written notice, and with
        the written consent of Sixty-seven Percent ofthe Limited Partners, a General Partner may be
        removed for any act which constitutes fraud, gross negligence or willful misconduct, provided (hat the
        written consent ofthe Limited Partners designates a substitute General Partner, In the event a
        General Partner remains after such removal, a substitute General Partner need not be named by the
        Limited Partners.

                          Upon removal of the General Partner, a MaJority-in-Interest of the Limited
        Partners shall select an appraiser to value the assets of the Partnership at their then current fair
        market value and to determine the distribution to which the removed General Partner would be
        entitled had the property of the Partnership been sold on the date of such removal. The
        distribution that the removed General Partner would have received on such date shall be reduced
        by any damages and eosts caused to the Limited Partners or the Partnership by reason of any of
        the foregoing causes for removal and costs of removal. Such amount, without interest, shall be
        paid to the removed General Partner, if funds are available, in the priority set forth in Section 6.2.

                         Nevertheless, the removed General Partner may also select an appraiser to value
        the assets of the Partnership at their then current fair market value and to determine the
        distribution to which the removed General Partner would be entitled had the property of the
        Partnership been sold on the date of such removal. If the distribution determined by the Limited
        Partners' appraiser and the General Partner's appraiser differ by an amount equal to or less than
        Twenty-five Thousand and No/100 Dollars ($25,000.00), the average ofthe two (2) shall be used.
        Jf the difference exceeds Twenty-five Thousand and No/100 Dollars ($25,000.00) then the
        Partnership shall be dissolved and its assets distributed pursuant to Artiele X .

                        In lieu of electing to continue the business of the Partnership upon removal of a
        General Partner by designating a successor General Partner, any remaining General Partner and
        the Limited Partners may dissolve the Partnership pursuant to Section 10.1(d) hereof Any
        successor General Partner shall succeed to all the powers, privileges and obligations with respect
        to the management of the Partnership of the former General Partner.

                 8.8    No Right to Withdraw. Although the General Partner may have the power under
        the Limited Partnership Act to withdraw from the Partnership at any time, the General Partner
        shall not have the right to withdraw from the Partnership without the prior designation of a
        substitute General Partner and the written consent of a Majority-in~lnterest of the Limited
        Partners. Any withdrawal by the General Partner without such consent shall be a breach of this
        Agreement.

                                          A R T I C L E IX
                            STATUS LIABILITY AND REPRESENTATIONS
                         OF LIMITED PARTNERS; R E L I A N C E AND CONSENT

                 9.1      General. Each Limited Partner shail have all ofthe rights, and be afforded the
        status, of a limited partner as set forth herein and in the Limited Partnership Act. The Limited
        Partners shall not take part in the day-to-day management or control of the Partnership business,
        transact any business forthe Partnersliip, or have the power to sign foror bind the Partnership.

                  9.2     Limitation of Liability. The liability of each Limited Partner shall be limited to (a)
        theamountwhich he hascontrtbuted and agreed to contribute to the Partnership pursuant to Article J V,
        and (b) the total amount of all Capital Contributions returned to such Limited Partner together with
        interest thereon necessary to discharge Partnership liabilities to all creditors who extended credit, or


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        whose claims arose, before such return.

                9.3      Representations ofthe Limited Partners. Each Limited Partner hereby represents
        and warrants to thePartnership and all other Partners that:

                        (a)     he has received information concerning the Partnership, has thoroughly
        read the information and understands the nature ofthe risks involved in the proposed investment,
        and has asked any questions of the General Partner which he desires to ask and has received
        answers or other information from the General Partner wilh respect to all such questions;

                       (b)      he understands that no state or federal governmental authority has or will
        make any fmding, determination, recommendation or endorsement relating to the fairness for
        public investment of the interests in the Partnership offered by the Partnership;

                        (c)      he understands that the transferability of fnterests is restricted and that he
        cannot expect to be able readily to liquidate his investment in case of emergency and that he may
        have to continue to bear the risk of holding his Interest for an indefinite period;

                        (d)      he is making such investment for his own account and not for the
        account of others, and is not buying with the present intention of reselling, transfen'ing or
        subdividing ali or any portion ofthe Interests in the Partnership purchased and presently intends
        to hold the same for the teim ofthe Partnership;

                         (e)      he understands that in the absence of either an effective registration
        statement covering the Interests in the Partnership under the Securities Act of 1933 and any
        applicable state securities laws, or an opinion of counsel satisfactoiy to the General Partner that
        registration is not required under Act and securities laws, he may not sell his Interest in the
        Partnership; and

                         (f)     he understands that the Internal Revenue Service may disallow some or
        all ofthe deductions or losses to be claimed by the Partnership or make other adjustments to the
        items of Partnership income deduction, gain, loss or credit.

                  9.4     Consent and Ratification. To the extent that any action that the General Partner is
        entitled to take pursuant to this Agreement requires, pursuant to the Limited Partnership Act, the
        consent to or ratification of all or any ofthe Limited Partners (including consent to or ratification
        of a reconstitution provided for in Article X), the Limited Partners hereby acknowledge that their
        execution of this Agreement shall conclusively be deemed to be the granting of such consent and
        ratification.

                                               ARTICLE X
                                         DISSOLUTION; WINDING UP

                10.1     Dissolution. The Partnership shali be dissolved upon the first to occur ofthe
        following:

                         (a)     theexpiration ofthe term provided inSeetion2.4;

                         (b)     the sale of all, or substantially all, of the Partnership Property;

                         (c)     the General Partner's bankruptcy or dissolution; or


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                        (d)      the written consent ofthe General Partner and a Majority-in-Interest of
        the Limited Partners.

                          Neither the death, dissolution, mental incompentency or bankruptcy of any Limited
        Partnernor the admission or substitution of a Person as a Partner in accordance with the terms hereof
        shall dissolve, or be deemed to dissolve, the Partnership or cause any interruption in or affect the
        continued existence of the Partnership and ils business. Upon the occurrence of any event of
        dissolution referred to hereinabove, the General Partner and a Majority-in-hiterest ofthe Limited
        Partners may elect to reconstitute the Partnership, with the exception that if such event of
        dissolution occurs pursuaJit to Section 10(c) hereof, a Majority-in-lnlercst of the Limited Partners
        may elect lo reconstitute the Partnership unless such insolvent or bankrupt General Partner was
        the sole General Partner ofthe Partnership, in which case ail Limited Partners may elect within
        ninety (90) days ofthe date ofthe insolvency or bankruptcy to reconstitute the Partnership. If
        such remaining Partners so elect, they may continue the business ofthe Partnership, either alone
        or with other Persons, without winding up and liquidating the affairs of the Partnership. In the
        event of such a dissolution and reconstitution, the Partnership shall have no obligation to pay any
        Partner the value of its Interest with the exception that if such event of dissolution occurs
        pursuant to Section 10(e) hereof and the Limited Partners elect to reconstitute the Partnership, the
        bankrupt or insolvent General Partner may be paid in accordance with the provisions for payment
        set forth in Section 8.7 hereof relating to removal of the General Partner.

                 10.2    Distribution of Assets. If the Partnership is dissolved, an accounting o f t h e
        Partnership assets, liabilities and operations through the last day of the month in which the
        dissolution occurs shail be made by independent accountants, and the affairs of the Partnership
        shall be wound up and terminated. The General Partner shall serve as the liquidating trustee,
        unless dissolution occurs by reason of Sections 10.1(c) and 10.1(d), in which event the liquidating
        trustee shall be selected by any remaining General Partner and a Majority-in-Interest of the
        Limited Partners. The liquidating trustee shall be responsible for winding up and terminating the
        affairs of the Partnership and shall determine all matters in connection therewith as it deems
        advisable and proper. The liquidating trustee shall sell for cash as rapidly as is reasonably prudent
       all Partnership Properties at such prices as the liquidating trustee, in the exercise of its business
       judgment, deems in the best interests of the Partners. The liquidating trustee may sell the
        Partnership Property to one(l) or more ofthe Partners or to an entity with which one (!) or more
       of the Partners is affiliated, provided that the purchase price offered by such purchaser is at least
       as favorable to the Partnership as that offered by Persons who are not Affiliates of any Partner.
       The proceeds of sueh sales shall be distributed or paid pursuant to the provisions of Section 6.2.

                       Notwithstanding anything to the contrary in this Section 10.2, the liquidating
        trustee may not sell the Partnership Property without the consent of Sixty-seven Percent ofthe
        Limited Partners, except to the extent required to pay creditors of the Partnership or to the extent
        permitted by Section 8.7 hereof

                 10.3    Termination. After all of the assets ofthe Partnership have been distributed, the
        Partnership shall terminate; but if at any time thereafter any funds in any cash reserve fund are
        released because theneedforsuchcashreservefund hasended,such fundsshallbedistributedand any
        tax items therefrom shall be allocated to the Partners in the same manner as if such distribution and
        allocation had been made pursuant to Section 10.2.

                                            A R T I C L E XI
                                   COVENANTS OF GENERAL PARTNER;


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                                            POWER OF ATTORNEY

                11.1     Covenants of the General Partner, The General Partner covenants, warrants
        and represents to the Limited Partners and the Partnership as follows:

                         (a)    upon execution and delivei-y of this Agreenient and the filing of the
        Certificate o f Limited Paitnership with the Secretaiy of State of the State of Texas, the
        Partnership will be a limited partnership duly organized under the lavv's ofthe State ofTexas,
        validly existing as a limited partnership in good standing under such laws, with power and
        authority to own and operate the Partnership Property;

                          (b)    there is no litigation or governmental proceeding pending or, to the best
        of its knowledge, threatened against or involving the property or business ofthe Partnership or
        the General Partner, or pending or, to the best of its knowledge, threatened against or involving
        any part of the Partnership Property;

                          (c)   the General Partner is not in violation of this Agreement, and neither the
        Partnership nor the General Partner is in default in the performance of any obligation, agreement
        or condition contained in any agreement of the Partnership or in any agreement by which the
        Partnership or the Partnership Propetty is bound which would materially adversely affect the
        Partnership or the Partnership Property or in any agreement of the Genera! Partner by which it or
        any of ils property is bound which would materially adversely affect the Partnership or the
        Partnership Propeity;

                          (d)    the execution and delivery of this Agreement, the fulfillment ofthe terms
        set forth herein and the consummation of the transactions contemplated herein will not eonfiict
        with or constitute a breach of or default under any other agreement, indenture or instrument by
        which the Partnership or the General Partner are bound; and

                          (e)    (he Partnership intends to hold all requited permits, licenses, orders or
        approvals required by any federal, state, local or other regulatoiy body, and all easements and
        required utility capacities necessary to carry on its business and to operate the Partnership
        Propeity,

                 11.2     Grant of Power of Attorney. Each Partner does hereby irrevocably make,
        constitute and appoint the General Partner and any successor thereto, each with full power of
        substitution., its true and lawful attorney and agent, with full power and authorit>' in its name,
        place and stead, to execute, swear to, acknowledge, deliver, file and record in the appropriate
        public office (a) all instruments (including, without limitation, the Certificate of Limited
        Partnership and, at the option of the General Partner, counterparts of this Agreement) and all
        amendments thereto which the General Partner deems appropriate, necessary or advisable to
        form, qualify, reform or continue the qualifications of the Partnership as a limited partnership (or
        a partnership in which the Limited Partners have limited liability) in the jurisdiction In which the
        Partnership may conduct business; (b) all instruments which the General Partner deems
        necessary, appropriate or advisable to refiect the use by the Partnership of any name other than
        that set forth in Section 2.1; (c) all instruments which the General Partner deems necessary,
        appropriate or advisable to refiect any amendment, change or modification of the Partnership in
        accordance with the terms of this Agreement; (d) all conveyances and other instruments or
        documents which the General Partner deems appropriate, necessaiy or advisable to refiect the
        dissolution and termination of the Partnership pursuant to the terms of this Agreement; (e)
        instruments relating to the admission of additional or substituted Partners j:Jursuant to the ternis


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        of this Agreement; and (f) any other documents or instruments which the General Partner deems
        necessary, appropriate or advisable in connection with the Partnership business, including
        amendments to the Certificate of Limited Partnership which are of an inconsequential or
        immaterial nature or are a result of a scrivener's error.

                11.3 Power Declared Irrevocable. The power of attorney set forth in Section 11.2 is
        hereby declared to be irrevocable and to be a power coupled with an interest, shall survive the
        mental incompetency of a Partner and, to the extent permitted by law, shall also survive the death
        or dissolution of a Partner, and shall extend to such Partner's heirs, representatives, successors
        and assigns. Bach Partner hereby agrees to be bound by any agreement made by the General
        Partner pursuant to such power of attomey.

                                                    A R T I C L E xn
                                P R O H I B I T I O N REGARDING PARTITION

                Each ofthe parties hereto does hereby permanently waive and relinquish and all rights it
        may have to cause the Property to be partitioned, it being the intention ofthe parties to prohibit
        any party Iiereto from bringing a suit for partition against the other parties hereto.

                                                 ARTICLE XIII
                                               MISCELLANEOUS

                13J    Offset. In the event that any sum is payable to any Partner pursuant to this
        Agreement, any amounts owed by said Partner lo the Partnership shall be deducted from said sum
        before payment to said Partner.

               13.2    Choice of Law; Consent to Jurisdiction. This Agreement shall be subject to
        and governed by the laws of the Slate ofTcxas, excluding any conflicts-of-law mle or principle
        which might refer the construction or interpretation of this Agreement to the laws of another state.

                 13.3    Notices, A l l notices, requests or consents provided for or permitted to be given
        pursuant to this Agreement must be in writing and may be given by depositing same in the United
        States mail, addressed to the Partner to be notified, postpaid and registered or certified with return
        receipt requested, or by delivering such noiice in person to such Partner (with signed receipt of
        such obtained). Notices given or sei'ved pursuant hereto shall be effective four (4) business days
        after such deposit or upon receipt by the Partner to be notified, whichever is earlier. AH notices to
        be sent to the Partners shall be sent to or made at the addresses specified for such Partners on
        Schedule B attached hereto. Each Partner may change its address for notice by the giving of
        notice thereof to the General Partner in the manner hereinabove stated.

                13.4     Entire Agreement. This Agreement constitutes the entire agreement of the
        Partners relating to the matters contained herein, superseding all prior contracts or agreements,
        whether oral or written.

                 13.5    Effect of Waiver or Consent No waiver or consent, express or implied, by any
        Partner to or o f any breach or default by any Partner in the performance by such Partner of its
        obligations hereunder shall be deemed or construed to be a consent or waiver to or of any other
        breach or default in the performance by such Partner ofthe same or any other obligations of such
        Partner hereunder.

                13.6     Amendment or Modification. This Agreement may be amended or modified


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        from time to time Only with the approval ofthe General Partner and Sixty-seven Percent of the
        Limited Partners; provided, however, that without its consent, no amendment to this Agreement
        shall be made which requires a Partner to make Capital Contributions or otherwise increases its
        liability in excess of that provided for herein on the date of his admission as a Partner, or alters
        the order of allocations and dish'ibutions set forth in Articles V and VI or Section 10.2 hereof, or
        changes a Partner's Sharing Ratio; and provided, further, that without the consent of the Limited
        Partners (and to the extent, if any, that such consent may be required by applicable law, each
        Limited Partner hereby irrevocably grants such consent), the General Partner may make (and tile
        with the appropriate public officials) such amendments or modifications to this Agreement as
        may be necessaiy to effect changes in the Sharing Ratios of the Partners occurring pursuant to the
        provisions of this Agreement and to make amendments of an inconsequential or immaterial
        nature or which are a result of a scrivener's error pursuant to Section 11.2. Each such instrument
        shall be reduced to writing and shall be designated on its face an "Amendment" or an
        "Addendum" to this Agreement

                13.7     Binding Effect. Subject to the restrictions on transfers and encumbrances set
        forth herein, this Agreement shail be binding upon and shall inure to the benefit of the Partners
        and their respective heirs, legal representatives, successors and assigns.

                13.8    Counterparts. This Agreement may be executed in any number of counterparts
        with the same effect as if all Partners had signed the same document. A l l counterparts shall be
        construed together and shall constitute one and the same instrument.

                13.9     Severability. If any provision of this Agreement or the application thereof to any
        Person or circumstance shall be held invalid or unenforceable to any extent, the remainder of this
        Agreement and the application of sueh provision to other Persons or circumstances shall not be
        affected thereby and shall be enforced to the greatest extent permitted by law.

                 13.10 Headings, The headings in this Agreement are inserted for convenience and
        identification only and are not intended to describe, interpret, define or limit the scope, extent or
        intent of this Agreement or any provision hereof

                13.11 Terminology. Whenever the context requires, the gender of all words used in
        this Agreement shall include the masculine, feminine and neuter, and the number of all words
        shall include the singular and the plural. A l l references to section and article numbers refer to
        sections and articles in this Agreement unless othenvise identified.

                 13.12 Additional Documents. In connection wilh this Agreement, as well as all
        transactions contemplated by this Agreement, each Partner hereto agrees to execute and deliver
        such additional documents and instruments and to perform such additional acts as may be
        necessary or appropriate to effectuate, carry out and perform all of the terms, provisions and
        conditions of this Agreement and all such transactions.

                 13.13 Independent Conduct. Each of the Partners and its respective Affiliates reserve
        and retain the right to engage in all businesses and activities of any kind whatsoever irrespective of
        whether same may be in competition with the business and activities ofthe Partnership) and to
        acquire and own all assets however acquired and wherever situated, and to receive compensation or
        profit therefrom, for its own respective account and without in any manner being obligated to
        disclosesuchbusinessandactivitiesor assetsorcompensationor profit totheother Partnersor to the
        Partnership.




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        IN WITNESS WHEREOF, the undersigned, being all of the Partners of the Company, have
eaused this Agreement to be executed effective as of the Effective Date.


                                            GENERAL PARTNER:


                                            MIDTOWN SCOUTS SQUARE, L L C ,
                                            a Texas limited liability company




                                            By:.
                                                   Lucky Chopra, Managing Member


                                            LIMITED PARTNERS:




                                            L U C K Y CHOPRA


                                            RICHEY FAMILY LIMITED
                                            PARTNERSHIP, LTD.,
                                            a Texas limited partnership

                                            By:     RICHEY F L P , INC., a Texas corj^oration,
                                                    its General Partner


                                                    By:                          „
                                                            L.E. RICHEY, Director




                                            L.E. RICHEY




                                            TODD m C H E Y

                                  SIGNATURE PAGE TO
                      AMENDED AND RESTATED COMPANY AGREEMENT
                        OF MIDTOWN SCOUTS SQUARE PROPERTY, LP,




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1910 Bagby Street, Houston, Texas 77002, or more particularly described as RES A, SLK 1 EDGE SEC 1

1911 Bagby Street, Houston, Texas 77002, or more particularly described as RES A, BLK 1 OLD SCOUTS PLAZA




                                             SCHEDULEA



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                      AMENDED AND RESTA TED COMPANY A GREEMENT
                        OF MIDTOWN SCOUTS SQUARE PROPERTY, LP,




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         Name, Address and Taxpayer         Sharing Ratio         Type of Partner
           Identification Number


      Lucky Chopra                               72.0%      Limited Partner
       8305 Knight Rd.
      Houston, Texas 77054
      S.S.N.:



      Richey Family Limited Partnership,         17.0%      Limited Partner
      Ltd.
      4411 Bluebonnet, Suite 109
       Stafford, T X 77477
      E.I.N.:



      L.E. Richey                                5.0%       Limited Partner



       S.S.N.:



      Todd Richey                                5.0%       Limited Partner



       S.S.N.:



      Midtown Scouts Square, L L C               1.0%              General Partner
       8305 Knight Rd.
      Houston, Texas 77054
       E.kN.:




                                     SCHEDULE B TO
                       AMENDED AND RESTATED COMPANY AGREEMENT
                         OF MIDTOWN SCOUTS SQUARE PROPERTY, LP




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                                            SCHEDULEC

                                  See Attached from the State ofTexas




                                    SCHEDULE CTO
                      AMENDED AND RESTATED COMPANY AGREEMENT
                        OF MIDTOWN SCOUTS SQUARE PROPERTY, L,P


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     (Revised 07/10)

     Submit In duplicate to:
     Secretaiy of State                                                                                                      ifVOffiKateofTexaa
     P.On Box 13697                                  Certificate of Formation
     Austin, T X 78711-3697
                                                        Limited Partnership
                                                                                                                            S£P 2 3 2010
     512463-5555 •
     F A X : 512 4634709                                                                                                                             ion
     Filing Fee: S750

                                                     AJ^cld 1 " Ettfity Name and Type

     The filing entity being formed is a limitBd partnership. The name of the entity is:

    MidtQivn Scouts Square Property, LP
     Ttift n«Pi* must Mfliftin * B won<5 "limiwd," "ticjitcd pirtncrahip/'     anflbViKvlBiiooof tj«l word or jbrasfi. Thn name of»liflnitBtl
     putii«rsbip that is oiM D-Iumted liability partnership must also contain the phrAse "linutod liflljili^pttitrimhip** or'limited liability
     lkiUie(l^)flfTiitt3iiip''oraniibbreviiiUunyfont: ofthoiswphni5C5.               ,              .        .


                                       Article 2 - Registered Agent and Registered Office
                                                   (Select md coinpI«& eitly^ A oi B and compleu C)

     Q     A . The initial registered agent is an organization (cannot bo entity named above) by the name of:


     OR

     [2 B , The initial registet^d agent is an individual resident ofthe state whose name is sot forth below:

     Lucky                                                                    Cbopta          ^^^^^^

     C. The business address of the registered agent and the registered office address is:

     16CrcstWQod                                              Houston.                                               TX            770Q2
    Stfttt Address                           '                Cfty                                                   State         Zip Code




                                                     Article 3^Governi»g Antbority
                                                 (Provtd? the Dime *nd address of each eonerat panner.)


    The name and address of each general paitnor are set forth below:

                                                                                            .i,A   .I.J   . , 1   1.'.-..


    IVAME (Enter the nmte of either tn individual or &n Qrgontestiori, but not both.)
           iFlMUVmUAX.


           First Name                                        ML              Last Name
           OR
           IP ORGANIZATION

           MIDTOWN SCOUTS SQUAKB LLC
           Or$att{mtfm   N&mt
    AXfDBESS
    8305 Knight Rd                                                   Houston                                 TX . USA                   77054
    S^il   or MaliiM Aditrm                                           City                                                   CtJiwrrf   Zifl Code

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 G E N E R A L PARTNER2
 NA^[E (Enter ihe name <jf ciihcr an inilividual or nn organization, but not both.)
       IK INDIVIDUAL


        First Name                                          ML               last     Name
        OR
        tF ORGANIZATION



     Organi::ation Nome
 ADDRESS


 Street Qr Mailing Address                                           Cirv                                         Stale   Counirv    Zip Code


 GENERAL PARTNER3
 N A M E (Enter the name of either JWJ individuaor on oiEunizaiion, but not both,)
       IF INDI\tDUAL


       First Name                                           M.L              Last Name                                                 Suffix
       OR
       IF ORGANIZATION



     Organization       Name
 ADDRESS


 Street or MailinS    Address                                        C/fy                                         State   Coiinirv   Zip Code



                                                       Article 4—^Principal Office
 The address ofthe principal office of the limited partnership in the United States where records arc to
 be kept or made available under section 153.551 of the Texas Business Organizations Code is:
 8305 A Knight Rd                                                  Houston                                    TX          USA        77054
 Street or Mailing Address                                         City                                       Stale       Country     Zip Code

                                               Supplemental Provisions/Information

 Text Area: [The attached addendum, if any, is ineoryoriited hefcin by rcfcrencc.l




                                            Effectiveness of Filing                 (Select either A, B, or C.)


 A , 0 This document becomes effective when the document is filed by the secretary of state.
 B. O This document becomes effective at a later date, which is not more than ninety (90) days from
 the date of signing. The delayed effective date is:                                                                        .
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 C. 0 This document takes effect upon the occurrence of the future event or fact, other than the
 passage of time. The 90'** day after the date of signing is:
 The following event or fact will cause the document to take effect in the manner described below:




                                                Execution

 The undersigned general partner affirms that the person designated as registered agent has consented
 to the appointment. The undersigned signs this document subject to the penalties imposed by law for
 the submission of a materially false or fraudulent instrument and certifies under penalty of perjury that
 the undersigned is authorized to execute the filing instrument.


 Date:     Sept, 21, 2010




                                                     U*. H   tUr^?f.A ,   ^A    /fWiVAJ A^^g/t•




Form 207                                             6
